Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 1 of 192 PagelD# 1

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SHouthern District of Mew Baek ~
Cameeaim |
Adaeze Nwosu
1802 Vernon St
Washington, DC, USA 20009
Plaintiff
T: 2028554226
E: ireoma@gmail.com
v. CIVIL ACTION NO:

1. Hilton World Wide, Inc.
1775 Tysons Blvd FL 7, McLean, VA, 22102 - 4285,
USA

Registered Agent:
Corporation Service Company

251 Little Falls Drive, Wilmington
New Castle, DE, 19808
Defendant I

2. Chris Song
950 New York Ave NW, Washington, DC 20001
Defendant 2

3. Nancy Orlarei
950 New York Ave NW, Washington, DC 20001
Defendant 3

4. Marriott International, Inc.
7750 Wisconsin Avenue,
Bethesda, MD, 20814
Registered Agent:
The Corporation Trust Incorporated
2405 York Road
Suite 201
Lutherville Timonium MD 21093-2264
Defendant 4

5. The Ritz-Carlton Hotel Company, L.L.C,

Registered Agent

Corporation Trust Center 1209 Orange St,
Wilmington, New Castile, DE 19801
Defendant 5

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Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 5 of 192 PagelD# 5

6. Roman Dauze
Tysons Corner,
1700 Tysons Corner Blvd, McCleans, VA
Defendant 6

7. Emma Poplin
3100 S St, NW, Washington, DC 20007
Defendant 7

& Rishi Malhotra
3100S St, NW, Washington, DC 20007
Defendant 8

9. David Morrison
1100 Pennsylvania Avenue NW, Washington, DC
20004
Defendant 9

* * * * * * *F * # # YF HK HF FF * HF FF

10. John Doe(s) and/or John Does) Inc/Corp/LLC

16 October 2024
*

* *

Jury Trial Demanded
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 6 of 192 PagelD# 6
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 7 of 192 PagelD# 7

Complaint: Fraud (constructive & actual), Unjust Enrichment, Harassment, Gross
Negligence, Unfair Business Practices, Breach of Implied and Express Warranty,

Violation of Anti-Trust Acts

1, Background of Parties,

1.1. Ms Nwosu (Plaintiff) is an international businesswoman, maintaining a portfolio of
global businesses across the hospitality, luxury lifestyle and marketing industries.
She is a “Diamond” member (the highest tier membership) with the Hilton Hotels
Corporation and has had vast experience as a guest with the hotel, across their
different brands across three continents, in Africa, Americas and Europe on her
business travels. As a self-employed, working class professional woman, her stays
are self-funded, meaning her expenses are not subsidized or funded by an employer.
Ms Nwosu began repeatedly staying with the hotel chain in December 2022 after
she was impressed by her Hilton stay in the Seychelles Mahé Island. Since 2023,
when her gold jewelry was stolen at the Hilton Munich, Germany, Ms Nwosu has
noticed a persistent decline in services afforded guests meanwhile the Hilton
Worldwide Holdings annual gross profit has been steadily increasing since 2022:
from (c. $7 billion to c. $9 billion in 2023),

1.2. According to their SEC statement, “the Hilton Worldwide, Inc “Hilton” is one of
the largest and fastest growing hospitality companies in the world,
with 5,284 properties comprising 856,115rooms in 105 countries and territories as
of December 31, 2017. Our premier brand portfolio includes: our luxury and
lifestyle hotel brands, Waldorf Astoria Hotels & Resorts, Conrad Hotels & Resorts
and Canopy by Hilton; our full service hotel brands, Hilton Hotels & Resorts, Curio

- A Collection by Hilton, DoubleTree by Hilton, Tapestry Collection by Hilton and
Embassy Suites by Hilton; our focused service hotel brands, Hilton Garden Inn,
Hampton by Hilton, Tru by Hilton, Homewood Suites by Hilton and Home2 Suites
by Hilton; and our timeshare brand, Hilton Grand Vacations. As of December 31,
2017, we had approximately 71 million members in our award-winning guest

loyalty program, Hilton Honors.”

1.3. Defendants 2 and 3, namely Chris Song and Nancy Orlarei respectively, were
employees of Defendant 1’s subsidiary, Conrad Hotels and Resorts, located at 950

New York Avenue, Washington, D.C, and participated in fraud and conspiracy to
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 8 of 192 PagelD# 8
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 9 of 192 PagelD# 9

defraud the plainitff during the plaintiff’s stay in July 2024. Both parties were
relocated to the Washington D.C. Conrad Hotel in May/June 2024, after the Conrad
Hotel & Resorts Midtownin Manhattan New York failed to uphold five star luxury
hotel standards, in just four short years, and was derobed of its Forbes Five Star
“Certification” in 2024. Ms Nwosu had stayed at the then Conrad Midtown New
York, on May 4 2024, complained to its front desk manager of its below standard
services. Following lapses in service qualities, 1 month later on June 4 2024, the
Hilton withdrew its managegment services, and the property was scooped up by
Marriot International, Inc, defendant 4, in defendant 1’s stead. The plaintiff also
brings a discrimination claim against defendant 2 for harassment, conspiracy and

fraud while she was a guest on the property in June 27 2024.

1.4. Defendant 4, the Marriott International Inc., is the parent company of Defendant 5,
The Ritz-Carlton where the plaintiff also stays since 2023 on business trips to the
District of Columbia, and is a competitor to Defendant 1. Like Defendant 1, the
plaintiff has substantial evidence over the course of her stays for illegal activities
such as fraud, breach of contract, unjust enrichment, breach of implied and express

warranty infer atia.

1.5. Defendant 6, 7, 8 are employees of Defendant 5, who conspire to comit fraud
against the plaintiff, and discriminate against the plaintiff, and breach contractual

agreements provided by defendant 4’s loyalty programs

1.6. Defendant 9, the John Does, are for unknown members, who participated in the torts
against the plaintiff and whom she does not know at the present time, and is listed

for ease of serving summons at a later time.

2. Nature of Action

2.1. The plaintiff brings this action/complaint of fraud (constructive and actual), breach
of express and implied warranty, breach of contract, unjust enrichment, negligent
misrepresentation, civil conspiracy for fraud and aiding and abetting such fraud,
thereof, harassment, antitrust violations and violations of the consumer protection
act for Virginia, and the District of Columbia, where the torts occurred, and/or under
18 U.S. Code § 1346 - Definition of “scheme or artifice to defraud” and 18 U.S.
Code § 1349 - Attempt and conspiracy.
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 10 of 192 PagelD# 10
Case 1:24-cv-01959-MSN-WEF Document 1 Filed 10/16/24 Page 11 of 192 PagelD# 11

2.2. The plaintiff brings these aforementioned counts against the defendant | — 3, in her
capacity as a Hilton “Diamond” member, the highest membership category, shy of
lifetime Diamond, after having experienced multiple of the corporation’s brands
portfolio worldwide and spending in excess of $50,000.00 in repeated stays with
the Hilton since December 2022. In this capacity the plaintiff has experienced,
rather unfortunately, a repeated lapses in service qualities, some of which, like
negligence and theft ended up being proximate causes for $400,000 loss by the
plaintiff. The plaintiff files this suit timely based on her concatenation of her
experiences since 2023, which demonstrates the defendant 1’s substitution of
consumer centric, hospitality service for corporate greed. Since in 2022, Defendant
l’s profit increased by $2 billion dollars, while the plaintiff has witnessed its leased,
managed and owned properties succumb to disrepair, cutback in basic amenities
and basic service standards, including housekeeping and cleaning standards in its
flagship Hilton brand, all the while positing that such brands like the Hilton are full
service,

2.3. The plaintiff brings similar complaints against defendants 4 ~ 8 in her capacity as a
Marriott Bonvoy “Gold Elite” Member, wherein she has experienced precarious and
frivolous implementation of the alleged Gold Elite benefits, that the availment of
such warranties become akin to “playing the house” and are albeit illusive and
fraudulently misrepresented.

2.3.1. For defendants 1 and 4, the plaintiff learned its employees are incentivized and/or
rewarded and/or promoted based on actual cash sales, causing them to jettison
ethics, warranties of loyalty programs, and plainly defraud and harass guests,
engage in illegal pricing such as baiting and switching, while they falsely advertise
to bait consumers into joining their fraudulent loyalty programs. Ultimately,
defendants 1 and 4 have crafted a likely ponzi scheme, where they, the parent
companies, ate the players of the ponzi/pyramid scheme, and the unsuspecting
consumers are the later investors and the employees are the early investors who
benefit from kickbacks, payoffs at the expense of the unsuspecting consumers, like
the plaintiff.

2.3.1.1. “Bait and switch” advertising is grounds for an action of common-law fraud,

unjust enrichment, and sometimes breach of contract. A “bait and switch” is also

a violation of the Consumer Fraud and Deceptive Business Practices Act.
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 12 of 192 PagelD# 12
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 13 of 192 PagelD# 13

2.3.2. (1) the seller represented in its initial proposal that they would rely on certain
specified employees/staff when performing the services; (2) the recipient relied on
this representation of information when evaluating the proposal; (3) it was
foreseeable and probable that the employees/staff named in the initial proposal
would not be available to implement the contract work; and (4) employees/staff

other than those listed in the initial proposal instead were or would be performing
the services.

2.4. The suit also brings anti-trust violations for various unethical pricing such as

inadequately justified dynamic/yo-yo pricing, allegedly using Artificial

Intelligence, which but serves to obscure transparency in pricing, promotes
unjustified inflationary pricings and diminishes consumer’s hard earned disposable
incomes. In fact, other states have banned and/or are attempting to ban these sort
of runaway pricing schemes that serve to devalue unjustly consumer dollars and
drive unnecessary inflation, and because of its potential violations of Sherman 1
and 2 Acts, and actual violations of the Clayton Act see

httns://spectrumlocalnews.com/nys/central-ny/politics/2024/03/0) fn-v--lawmaker-

introduces-bill-amid-wendy-s-planned-dynamic-pricing and

https://www.restaurantdive.com/news/new-york-state-ags-proposed-rule-could-

restrict-dvnamic-pricing-new-york/644208/,

2.5. Thus, this complaint also contains anti-trust violations vis a vis, the Clayton Act and
The Robinson Patman Act, as both parent companies engage in never ending
acquisitions and conversion of hotel brands under their portfolio, stifling
competition and limiting choices for travelers, flattening the distinction between
luxury, and midscale hotel chains to their cost advantage, all the while providing
substandard service delivery across all hotel brand categories.

2.6. This suit is timely as lapses in the breach of contract, and failure to honor its
warranties by the 1° and 4" defendants have already been adjudicated and settled
in favor of the plaintiffs, See case Elder vs. Hilton 2017, yet these defendants refuse
to learn from their previous mistakes, thus compelling this similar case’s

requirement for more stringent punitive damages.

3. Jurisdiction
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 14 of 192 PagelD# 14
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 15 of 192 PagelD# 15

3.1. The plaintiff brings this complaint into the District Court for Eastern Virginia based
on federal question jurisdiction under 28 USC 1331: Federal question because the
district courts have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States. The defendant 1 is a Delaware
corporation headquartered in Eastern Virginia with location 1775 TYSONS
BLVD FL 7, Mc Lean, VA, 22102 - 4285, USA. Defendant 4 is headquartered in
Maryland, and owns/operates hotels in Eastern Virginia, such as defendant 5, the
Ritz-Carlton L.L.C with a branch located at 1700 Tysons Boulevard, McClean,
Virginia, where torts were also committed against the plaintiff. Federal jurisdiction
is appropriate as both holding companies have branches /subsidiaries along state

lines and engage in interstate commerce.

4. Counts & Violations

4.1. Fraud/Misrepresentation, Negligent Misrepresentation against defendants, pursuant
to US Code 18 U.S. Code § 1346 Scheme or Artifice to Defraud and 18 U.S. Code
§ 1349 — Attempt & Conspiracy,

4.2. Harassment against defendant 2

4.3. Breach of Virginia Consumer Protection Act of 1977, Breach of DC Consumer
Protection Act

4.4. Negligence, Gross Negligence, Wanton Negligence

4.5. Unjust Enrichment

4.6. Discrimination and Violation of Common Law Inn Keeper Laws

4.7. Breach of Implied, Express Warranties (Breach of Contract)

5. Statement of Claims

5.1. The flagship Hilton brand gained popularity with upper middie class baby boomer
Americans as a dependent brand that could deliver 4-star hotel quality at 2 star
prices. Marriott, a rival grew popular on a similar branding style. In recent years,
both companies have pursued an aggressive acquisition strategy to appeal to luxury

consumers, like the plaintiff and gen Z and millenniais!.

' See summary of Marriott's acquisitions here including expansions of luxury portfolios st. Regis, and
defendant 5, Ritz Carlton, L.L.C

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 16 of 192 PagelD# 16
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 17 of 192 PagelD# 17

5.2. The problem now is that the reverse is true, wherein defendant | and 4 are acquiring
and expanding brands which they advertise as luxury and running them like 2/3 star
hotels, including defendant 5, because they evidently cannot uphold the standards
expected of the luxury hospitality of their boutique rivals, to which customers are
acquainted, and even which their advertisements promise. This is evident in
defendant’s one closures of its luxury hotels due to lackluster and/or substandard
service delivery, as evident in the Conrad Midtown New York, which the plaintiff
personally experienced, her lackluster experience in the Waldorf Astoria Rome
Cavalieri Resort in May 2024, where the bathroom upon check in was hardly
operational, and in Waldorf Astoria in/around June 5“ 2024, wherein the plaintiff
checked into a dirty unvacuumed riddled room with fresh carpet stains and visibly
unclean bath that was permanently stained. These just mark the experience of the
plaintiff, non inclusive of the publicly available complaints of deplorable standards
in similar Waldorf Astoria in Edingburgh, Scotland which was forced to drop the
luxury Waldorf Astoria brand in June 2024, to a curio collection, after a persistent
string of complaints since 20227, The Curio collection hotels are a 6 foot drop
downgrade, from the Waldorf Astoria, and just adds further evidence of
Defendant’s inability to operate as a luxury chain despite persistently misleading

customers and raising expectations?.

Figure | Excerpt from Hilton 2021 SEC filing showing ranking of its brands

2 hens:/Avww.tripadvisor.com/Hotel Review-g!86525-d!88782-Reviews-or20-
The Caledonian Edinburgh Curio Collection by Hilon-Edinburgh Scotland himl

3 https://www.thecaterer.com/news/caledonian-edinburgh-curio-collection-hilton
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 18 of 192 PagelD# 18
Case 1:24-cv-01959-MSN-WEF Document 1 Filed 10/16/24 Page 19 of 192 PagelD# 19

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Figure 2 String of poor reports of the struggling Waldorf Astoria in Edingburgh,

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Date of stay: May 2024

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Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 21 of 192 PagelD# 21

Figure 3 Evidence of duplicitous practices by the hilton from other customer's

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Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 22 of 192 PagelD# 22
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 23 of 192 PagelD# 23

5.3. The general manager from the failing Waldorf Astoria in Edinburgh, Dale McPhee
was brought in to run the failing Conrad Hotels in DC this May 2024, which had
evidently been running without a general or operations manager. In the press, the
Hilton publicly conceals its luxury management and operational failures to deliver
the services it advertises with rosy, omissive and misleading verbiage: “The
property will also be rebranded into a Curio Collection by Hilton hotel in a move
that would “provide an opportunity for the Caledonian to further elevate its
heritage and position”, the group said’. ”

5.4. Under Virginia law, a plaintiff seeking to recover for fraud must allege: "a false
representation, (2) of a material fact, (3) made intentionally and knowing ty, (4) with
intent to mislead, (5) reliance by the party misled, and (6) resulting damage to the
party misled." Glaser v. Enzo Biochem, Inc., 464 F.3d 474, 477 (4th Cir. 2006)
(citing Richmond Metropolitan Authority v. McDevitt Street Bovis, Inc., 256 Va.
$53, 507 S.E.2d 344, 346 (1998)). A claim for constructive fraud requires the same
allegations, except instead of pleading that the false representation was made
intentionally and knowingly, "the plaintiff is only required to plead that the false
representation was made innocently or negligently." Sales v. Kecoughtan Hous. Co.,
279 Va. 475, 690 S.E.2d 91, 94 (2010). In addition, "[a]n action.

5.5. Similarly under District of Columbia law, in order to state a claim of common law
fraud (or fraud in the inducement) under District of Columbia law, a plaintiff must
plead that: The defendant made a false statement of material fact with knowledge
of its falsity; and/or with the intent to deceive ("Where a party innocently
misrepresents a material fact ... without reasonable grounds for believing it to be
true [...] such representation will support an action for fraud.") (citations omitted);
Restatement (Second) of Torts § 539(L) (1977), as cited in Boomer Dev. LLC v.
Nat'l Ass'n of Home Builders of the United States, 258 F. Supp. 3d 1 (D.D.C. 201 7).
Under District of Columbia law, a misrepresentation is material if either: (a) It is
likely to induce a reasonable person to manifest assent. (2) The defendant knows
that it is likely to induce the recipient to manifest assent (/@). Under federal law, 18
U.S. Code § 1346, scheme or artifice to defraud, the U.S Supreme Court, US v.
Rybicki, 354 F. 3d 124 - Court of Appeals, 2nd Circuit 2003 upeld the code includes

a scheme or artifice to deprive another of the intangible right of honest services

a https://www.thecaterer.com/news/caledonian-edinburgh-curio-collection-hilton

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Case 1:24-cv-01959-MSN-WEF Document 1 Filed 10/16/24 Page 24 of 192 PagelD# 24
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 25 of 192 PagelD# 25

5.6. With regards to the Virginia Consumer Protection Act of 1977, Consumer
transaction" means:

5.6.1. “1, The advertisement, sale, lease, license or offering for sale, lease or license, of
goods or services to be used primarily for personal, family or household purposes;
"Goods" means all real, personal or mixed property, tangible or intangible.

"Services" includes but shall not be limited to (i) work performed in the business
or occupation of the supplier, (ii) work performed for the supplier by an agent
whose charges or costs for such work are transferred by the supplier to the

consumer or purchaser as an element of the consumer transaction,
"Supplier" means a seller, lessor, licensor, or professional who advertises,
solicits, or engages in consumer transactions, or a manufacturer, distributor, or
licensor who advertises and sells, leases, or licenses goods or services to be
resold, leased, or sublicensed by other persons in consumer transactions.
A. The following fraudulent acts or practices committed by a supplier in
connection with a consumer transaction are hereby declared unlawful:
6. Misrepresenting that goods or services are of a particular standard,
quality, grade, style, or model;
In any action brought under this subdivision, the refusal by any person,
or any employee, agent, or servant thereof, to sell any goods or services
advertised or offered for sale at the price or upon the terms advertised or
offered, shall be prima facie evidence of a violation of this subdivision.
14, Using any other deception, fraud, false pretense, false promise, or
misrepresentation in connection with a consumer transaction”
16. Failing to disclose all conditions, charges, or fees relating to:
a, The return of goods for refund, exchange, or credit, Such
disclosure shall be by means of a sign attached to the goods, or
placed in a conspicuous public area of the premises of the
supplier, so as to be readily noticeable and readable by the person
obtaining the goods from the supplier. If the supplier does not
permit a refund, exchange, or credit for return, he shall so state
on a similar sign.”
5.7. Fraud (Ponzi Schemes) and Breach of Implied & Express warranty (Breach of
Contract) & Deceptive Pricing Practices (Unfair and Deceptive Trade

Practices), Negligence

12
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 26 of 192 PagelD# 26
Case 1:24-cv-01959-MSN-WEF Document 1 Filed 10/16/24 Page 27 of 192 PagelD# 27

5.7.1. The plainitff avers that the defendants 1 and 4 breached Code of Virgirnia § 8.2-
313: Express warranties by affirmation, promise, description, sample, [wherein] (1)
Express warranties by the seller are created as follows:

(a) Any affirmation of fact or promise made by the seller to the buyer
which relates to the goods and becomes part of the basis of the bargain
creates an express warranty that the goods shall conform to the
affirmation or promise.

(b) Any description of the goods which is made part of the basis of the
bargain creates an express warranty that the goods shall conform to the

description.

c) Any sample or model which is made part of the basis of the bargain
creates an express warranty that the whole of the goods shall conform to

the sample or model.

(2) It is not necessary to the creation of an express warranty that the
seller use formal words such as "warrant" or "guarantee" or that he have
a specific intention to make a warranty, but an affirmation merely of the
value of the goods or a statement purporting to be merely the seller's
opinion or commendation of the goods does not create a warranty.

5.7.2. The defendants 1 and 4 conducted the acts listed in clause 5.7 by repeatedly denying
upgrades, gifts, concessions, violating their terms and conditions at material times
when the plaintiff attempted to avail of the warranties provided by their loyalty
point systems, in her status as a “Diamond” Hilton Honors member and “Gold Elite
member,

5.7.3. The plaintiff has been repeatedly denied upgrades at the Hilton being informed that
certain rooms are exlcuded for upgrades although these are not advertised, and are
omitted from the welcome letters and adverts on the company’s website of the
benefits of the loyalty programs

5.7.4. Defendants 1 and 4 also incentivize staff to deny one upgrades by rewarding them/
promoting them based on actual cash sales so consumers are unsuspectingly

blocked from availing of their points, and instead are steered away or outrightly

defrauded.

6. Statement of Facts/ Plaintiff’s Affidavit in Support of Counts against named
Defendants

13
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 28 of 192 PagelD# 28
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 29 of 192 PagelD# 29

6.1. Plaintiff string of poor and fraudulent experiences at Defendant’s 1 Conrad Hotel
& Resorts brand, including the plaintiff’s stay at the Conrad, Washington, DC June
22, — July 1, 2024 and the Conrad in Algarve, Portugal in May 2024,

6.2. During her first stay at the Conrad Washington DC, from June 16" Fune — 23" June
2024, Ms Nwosu had paid for the Sakura lounge, whose added lounge fee provides
breakfast and dinner.

6.3. Ms Nwosu stayed in a 800sqft suite with a park view, receiving lots of natural
sunlight, and despite the summer heat and large glass windows, the room stayed
cool because of the functioning AC.

6.4, During the course of her stay, Ms Nwosu observed that hotel employees were in
the practice of coming to the lounge during lounge hours or shortly after and
sneaking food prepared for guests out of the lounge for their personal consumption

6.5. _ By their acts of sneaking food out, i.e. trying to hide take away packs of food and
walking briskly out of the lounge, and/or carry ing plates into the lounge toilei, Ms
Nwosu knew they knew their practices of taking what was reserved for guests were
wrong and inappropriate, especially in a 5 star hotel.

6.6. The staff being able to avail of guest food Ms Nwosu had to bay at least $300 a
night for, plus extra $300 for the Sakura lounge constitutes a violation of consumer
protection laws because unbeknownst to Ms Nwosu, the Hilton had an alternate
avenue to availing of such amenities without paying — all Ms Nwosu had to do
rather than waste her hard eatned money was greet people in the lounge as an
employee and clean up after guests.

6.6.1. When she asked Nancy Orlarei if there was an alternate path to obtaining the same
amenities without paying for them, and again re-exposing the illicit behavior of the
staff, Nancy did not respond to Ms Nwosu’s complaint. This act alone violates
Virginia consumer protection act § 59.1-200 (8) whereby defendant 1 advertised
goods or services with intent not to sell them as advertised, or with intent not to sell
at the price or upon the terms advertised

6.7. | Ms Nwosu also noted that her turn down services, which is part of the services she
had paid for, and expected, at the hotel, were missed and/or incompletely done by
the tum down staff. On one night, she informed Mr Edwards, who mentioned all
the housekeeping staff had closed for the day, but would ensure they serviced her

room for the rest of her stay.

14
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 30 of 192 PagelD# 30
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 31 of 192 PagelD# 31

6.8.

6.9.

6.10.

6.11.

However, turn down services remained lackluster, at times trash wouldn’t be taken
out, the bed would not have been serviced, the nightly gifts not placed, or ice would

be missing, or the drapes not closed. Thus, the services she was paying for and

expecting, was not being delivered, and when done, were below the hotel’s
recognized standard, and which the staff admitted, and yet could not sufficiently

correct and render, if af all. This is in violation of Virginia consumer protection act

§ 591-200 6. Misrepresenting that goods or services are of a particular standard,
quality, grade, style, or model,

The final straw that broke the camel’s back on this stay, was when Ms Nwosu sought
to extend her stay and avail of her Hilton honors points. To this effect she had
notified the front desk manager, Mr Edwards, to close out the existing booking so
her points would post ontime and she could redeem it. However, on 21° June, Mr
Edwards gave Ms Nwosu lots of excuses, and said his work phone broke that
morning, and did not see her messages requesting the stay to be extended and
redeemed with points, and ensuring she booked the right room category through the
app, to retain the same room. Ultimately, though Ms Nwosu went ahead and made
a fresh reservation through the app, she was yet debited or a stay at a full cash rate
of over $1000, unbeknownst to her, and without her authorization.

This came, after Ms Nwosu complained to the front desk manager, prior checking
in that it seemed the Hilton staff grieved customers who booked with points because
they either try to withhold the complimentary upgrades they advertise by telling
them rooms are not available, or steering them away to reserve their points for later
and pay cash instead. While Mr Edwards tried fo reassure her that was not her
practice, on June 16" 2024, when she initially checked in, it ended up manifesting
as explained in the aforementioned clause.

Subsequently, after complaining for the unauthorized debit on her card, and the
lapses in services, including omitted and substandard services, Chris Song and the
Guest Relations Manager, Alejandra, initially tried to offer Ms Nwosu 40,000 points
and a free night’s stay in a standard room. Ms Nwosu declined the offer, stating she
was similarly offered 40,000 points in the Conrad Midtown, NY, in May 2024 and
instead told them to improve their services and give her a refund. Unfortunately, the
Conrad Midtown closed for lapses in service standards and omissions anyway. Ms
Nwosu mentioned she wasn’t interested in points to patch poor service and that the

reasons she opted for “5 star hotels” was so she could focus on the business she was

15
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 32 of 192 PagelD# 32
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 33 of 192 PagelD# 33

in town for, get it done in a timely manner, and be assured that she would not be
distracted with poor service experience

6.12. In this case, both the guest Relations manager and the assistant front desk manager,
Chris song, ceded that truly the standards Ms Nwosu had met, were not the hotel’s
standard, and conceded to give her a partial refund and assurance that on her next
stay she would not witness the lapses she had seen on this stay, and would take
steps to remedy the situation and invited her back to the hotel in DC the following
week, when she would return to town. Ms Nwosu took them for their word.

6.13. On/Around June 26 2024, Ms Nwosu returned to DC and wrote to Chris Song,
Nancy Orlarei the Director of Rooms, and Alejandra specifically asking if the
services issues and omissions, she had witnessed, had been fixed prior to booking.
Chris assured her in writing that they had been addressed, and welcomed her
booking.

6.14. However, the next morning after the night she had checked in, Ms Nwosu saw yet
again, hotel staff sneaking food reserved for guests into the bathroom of the lounge.
Such acts of taking what belonged to guests, by staff was extremely sensitive for
Ms Nwosu as a staff member had stolen Ms Nwosw’s 3 day old one of a kind gold
jewelry in Hilton Munich, 2023, and thus made Ms Nwosu extremely worried about
the safety of her affairs, if the problem still persisted and the staff(s) they had
allegedly cautioned continued.

6.15. Ms Nwosu promptly brought the breach in service standard and behavior to the
director of rooms, Nancy Orlarei after leaving the hotel to conduct her affairs. When
Crucially, when Ms Nwosu confirmed from Nancy Orlarei that same day, that staif
had no special permission to conduct such, she asked for a refund immediately in
writing on the stay given that she had just stayed one night out of the four
nights

6.16. She also brought to Nancy’s attention the non-working AC in the living room and
copied Chris and Alejandra

6.17. While Ms Nwosu was out of the hotel Nancy did not respond, and neither did Chris
or Alejandra. Ms Nwosu just assumed they were taking care of the lapses and did
not want her to check so she concentrated on her affairs.

6.18. When she returned later in the evening back to the hotel room, she was surprised
the room was still hot, her laundry had neither been picked up or returned, and there

was no response whatsoever from Nancy or Chris or Alejandra.

16
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 34 of 192 PagelD# 34
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 35 of 192 PagelD# 35

6.19. Confused, yet tired, she wrote to Nancy to elicit a response on her complaint, and

Nancy wrote her a one liner saying someone would fix the AC in the bedroom.

6.20. Ms Nwosu returning from a long day, was exhausted and perplexed as to why there
had been no resolution, meanwhile staff were checking in guests as normal and no
one said anything to her. Eventually she instructed Alejandra to check her phone
with regards to the complaint. Alejandra mentioned she was off duty and could not
address the recurrent lapses either, and simply referred her back to Nancy and Chris
who were on duty and copied on the e-mail, and her assured her they would take
care of her complaint

6.21. Ms Nwosu ceded, and decided to focus on her affairs through throughout the
business week, which she was in town for, trusting the hotel staff would not have
tured her back to the hote! under false pretenses, and without intending to improve
as they had mentioned. She left the hotel in the morning for her business in the
morning, came back in the evening, yet her room was ever hot.

6.22. In fact two of the Hilton employees who entered her room, Mr Roberto, and the
housekeeping staff noted her room was uncharacteristically hot and apologized for
the inconvenience.

6.23. On Sunday June 30th, Ms Nwosu reported to a front desk staff, Mr Odingas that her
room was still very hot, and he came up and witnessed that the AC in the living
room was set to a lower temperature than the AC in the bedroom, yet was still not
cooling as well.

6.24, Odingas called on the radio for engineering to come to the room immediately, and
upon arrival, the engineering staff mentioned that was the first time, he had
received a request to that room for a non-working AC and showed Ms Nwosu the
engineering room fixing requests for the past week; Notably, her room, room 1014,
was not on there. Thus, although Nancy, Alejandra and Chris all made Ms Nwosu
believe that they had been sending engineering to her room and that her room air
conditioning was fixed. This was a lie. The only reason Alejandra was not listed as
a defendant was because she was off duty, and would had been relaying information
based on input from Chris and Nancy.

6.25. Ms Nwosu then reported the matter to Chris in person, whom she had been copying
but had not seen physically until then. He mentioned he had been made aware of
the matter, and offered Ms Nwosu a fan. It was then she knew Nancy and Chris had

deceived her and conspired to defraud her all along. Their silence, though

17
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 36 of 192 PagelD# 36
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 37 of 192 PagelD# 37

pretending to fix issues, had been intentional. They had lured her back to the hotel

on the assurances that the lapses in services were addressed, wherein they actually

were not, and carefully omitted that they_had no intention of fixing them, all the

while recognizing Ms Nwosu is busy during the day. So their ploy evidently was to

stall her, under pretenses, so as to not issue a refund and then mention that she had
used the facilities, which is exactly what happened. See clause 4.2.29

6.26. In fact Mr Song, took it upon himself to try to prove to Ms Nwosu that her AC was
working, but because her room faced the sun it could not cool. Notwithstanding that
at least three other staff had concluded that the room was uncharacteristically hot,
and that Ms Nwosu’s previous room from her previous stay, which had faced the
sun and had more glass window cooled just fine.

6.27. When Ms Nwosu refused Chris obvious lies, she told him she was stressed by all

of this and was checking out and wanted to be alone. Chris insisted on following

her to her room to the engineer, prove that the AC was working well.

6.28. Ms Nwosu repeated to Chris that three of his staff, and herself had all born witness
to the fact that the living room is HOT and the AC cannot cool it, and that no
engineering had come all along, and she was not permitting anyone anymore since
she wanted to rest and check out.

6.29. Chris insisted on entering the elevator with her to the 16" floor and followed her.
Irritated from what had risen to harassment, since Ms Nwosu had asked Chris

to leave her alone, but he refused disrespectfully, under the guise of pretending to

fix her issue, though he had 3 days already. Upon noticing Chris followed her from
the lift on the 10 floor and was still walking behind her to her room, after she had
asked him to stop, she went down to the third floor lobby and met with the
concierge, Ms Yvette Faulk, and recounted her stay and asked to leave and find an
alternative. Ms Faulk concluded that Ms Nwosu was entitled to a refind and should
not have witnessed any of the lapses in services again. She agreed to call an
alternate hotel, the Waldorf Astoria, in the morning, when their managers would be
back, to ensure they had fixed their issues and Ms Nwosu could be transferred to a
hotel within the Hilton brand in the moming. She also promised to escalate the
complaint with Dale McPhee the general manager. Odingas mentioned Ms Yvette
was discussing with Chris privately, and would call her room to confirm everything

before she left, and advised Ms Nwosu could go upstairs.

18
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 38 of 192 PagelD# 38
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 39 of 192 PagelD# 39

6.30. Later that evening, Ms Nwosu waited and did not receive a cali from Ms Faulk.
Instead, she received an email from Chris stating that he would not honor a
request for a refund because Ms Nwosu had used the facilities.

6.31. Upon returning to her room, she noticed the turn down service had been done, but
once again improperly and incompletely.

6.32. Ms Nwosu mentioned she would sue for she had been effectively defrauded, and
defrauded under conspiracies by the staff at the Conrad, especialiy Nancy and Chris,
who had known of the issues of the previous stay, did nothing on subsequent stays
though pretended to so, just so they could stall Ms Nwosu to stay longer and steal
her money under false pretenses and by willful acts of omission, and deceptive
utterances. The staff at the Conrad clearly had no intention of improving their
services, stopping Iapses in quality standards, theft, ete and all the
shortcomings Ms Nwosu had pointed out on her previous stay, and again on
June 26 2024, which Chris assured her they would have taken care of. All was
a fraudulent misrepresentation. This violated Virginia consumer protection act §
59.1-200, 6,7,8.

6.33. On July | 2024, Ms Nwosu followed up on her complaint with Ms Faulk and the
general manager dale McPhee, but neither responded.

6.34. Ms Nwosu checked out a day early, and yet she was still billed the full amount, and
lost also the dollar equivalent of the points (over $1000), she had used for the
booking (Exhibit 1).

6.35. Chris and Nancy’s fraudulent actions in over billing her made her recall how the
Conrad, Algarve Portugal had overbilled her for pet fees and security deposit in
excess $750, even though she had settled her bill, and the daily pet fees etc were
already included in that invoice, which she had settled. The Conrad Algarve
attempted to justify the charge, and instead emailed Ms Nwosu proof that she had
authorized that amount using someone else’s credit card.

6.36. Ms. Nwosu explained the billing was wrong because they had charged a card
unbeknownst to her and only found out because she noticed unrecognized charges
on acard she had not authorized.

6.37. Although the Conrad Algarve had a printout of her invoice, with the charges fully
settled, they never refunded her the excess of $750 amount (exhibit 2). Ms Nwosu
was forced to file a charge back but soon forgot about it because she had other

countries to travel to on her agenda.

19
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 40 of 192 PagelD# 40
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 41 of 192 PagelD# 41

Falsely Advertised Services and Repeated Lapses in Quality Standards at the
Waldorf Astoria in Rome and DC

6.38. Ms Nwosu has had over 5 3-day or more stays at the Waldorf Astoria, DC between
2023 —2024, and used to be her go-to hotel whenever she had to be in DC. However,
there would be lapses by staff upon check in, and the more she stayed, the more she
noticed the hotel falling into disrepair such as little yet important things that make
a5 stat hotel, 5 star: curtains began to drop off the curtain rack, furniture like sofas
would be missing from how it was advertised on the Hilton website, and door

viewers for security would be blocked with tissue, because the glass was broken

and their slippers became cheaper, their laundry papers became photocopies instead
of actual three ply papers with the carbon copies beneath (see images from
plaintiff’s stay on January 17" 2024).

6.39. Ms Nwosu reported these drop in standards to Mr Crosby, a front desk staff, their
long time concierge Fahad, who mentioned they would try to fix these lapses in

service, security, and quality standards for her next stay.

Figure 4 cheap slippers Figure 5 broken security door viewer, clogged
eermet same . with tissues

6.40. However, Ms Nwosu’s next stay was worse. When she checked in June 2022, she

checked into a dirty room, the room was not vacuumed, there was visible hair in the

20
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 42 of 192 PagelD# 42
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 43 of 192 PagelD# 43

tub, the tub that was previously always white had now developed stains and there
was trash on the floor from the previous stay.

6.41. This time, she was offered a complimentary upgrade by David Morrison, defendant
9, the front desk manager to a $2000 suite for the night, instead of her $800 room,
as a bait, since it would be complimentary for that night only, and subsequently they
would switch the price. MS Nwosu declined the offer asked for a refund on the first
night because of the gravity of oversight of checking into a dirty room, and drop in
standards. She asked that the tub be fixed as this was her preferred room, and was
already noted on her profile, so she did not want to go through hassles of seitching

6.42. In anemail on June 6", 2024, she explained such lapses in drop in advertised luxury
standards are costly on her time because then they try to get the housekeeper,
director of housekeeping to speak with her, apologizing and eating into time meant
for her business and she was not just going to keep condoning substandard services
with placating yet patchy solutions such as points and upgrades (Exhibit 3).

6.43. Ms Nwosu told the director of housekeeping to replace the stained tub, since she
mentioned the stains could not come out and admitted yes previously, they were not
there but had started to develop across tubs in the hotel.

6.44. Ms Nwosu mentioned for the price of a suite for the night, the could easily buy a
new one.

6.45. Though they admitted the lapse in service standard, what happened next was very
telling of defendant’s 1 inability to understand and run 5 star luxury. A front desk
staff called Ms Nwosu, whilst her do not disturb sign was on, to inform her that the

price of her room had increased to $1000+ for the following night, then David,

defendant 9, made an offer to downgrade her, and _ still not fix_the tub, or even

provide any assurances or give a time frame with which it would be fixed.

6.46. Additionally, when Ms Nwosu first tried to book the stay, before checking in, she
was told by the sales team that they offered discount rates for extended stays. She
was surprised when they tried to continuously upsell her by offering various
discounts on higher priced suite rooms, for up to half, the price after she had

checked. This was totally misrepresentative of the facts she had been advised in

email, that they offered no discounts on extended stays. Of course, Ms Nwosu relied

upon the no-discount information she was given before she checked in and had

already shortened her stays based on the information she was given (exhibit 8).

These evident misrepresentations were fraudulent.

21
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 44 of 192 PagelD# 44
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 45 of 192 PagelD# 45

6.47. This misrepresentation added with the drop in standards, lack of care for service
quality, and prioritizing the bottom line, the disruption and inconvenience,
overwhelmed Ms Nwosv to the point that she wouldn’t stay at the Waldorf Astoria
in DC again. Notably, the hotel manager, Mr Jamal Simington only half-heartedly
attempted to reach out to her after she had checked out, and when she responded
later, he never responded again.

6.48. Notably, this drop in 5 star standards in DC was consistent with what Ms Nwosu
had experienced on her vacation at the Rome Cavalieri -A Waldorf Astoria hotel in
Rome in May, 2024.

6.49. Just one year prior in May 2023, Ms Nwosu had a good stay at the hotel, prompting
a return the following year but was dismayed by the poor service and drop in
amenities.

6.50. She was informed that the coffee machines in the hotel rooms were now reserved
only for the 8" floor /mperial rooms, and had been removed from the other floors.

6.51. She checked into a room that had severe plumbing issues such that the bidet, the
shower and the toilet were not working properly.

6.52. Eventually after waiting for over 6 hours, they were able to finally switch her room.

6.53. However even the basic standards of the bed preparation dropped — the bed had no

duvet, and Ms Nwosu could not even sleep but was woken up repeatedly:

22
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 46 of 192 PagelD# 46
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 47 of 192 PagelD# 47

Figure 6 substandard quality of bed at Waldorf Astoria Rome Cavaliari which the
plaintiff had to sleep on and endure poor night’s rest because of slow, poor
resolution and negligent hotel standards

6.54. Rather than handling her complaints, like the Conrad the Rome Cavalieri Waldorf
Astoria, kept silent, stalled. In fact one day Ms Nwosu got a bill envelope slipped
under from the cashier stating she had unresolved charges, when in fact she did not
because she had authorized her credit card to cover incidentals.

6.55. Ms Nwosu also noted that the welcome gifts that were given to other guests, were
not given fo her, In fact when she spoke to the front office Manager about it, the
manager lied that they don’t have those type of gifts anymore, and when Ms Nwosu
insisted she had seen it with her own eyes being given, the Manager conceded and
mentioned she would send them up to her room.

6.56. At Rome Cavalieri Waldorf, the misrepresentation was not just reserved to the
rooms but also to the spa services. For example Ms Nwosu would book a deep tissue
80 minute massage, and be given a 50 minute Swedish massage, like she would not
know the difference. And when she spoke with the spa staff about and asked to
speak with the Spa Director, the front desk staff, said she wouid call the manager,
yet instead called a therapist, presenting her to Ms Nwosu as though she was the
manager.

6.57. Eventually the same staff member called the manager/spa director, who was equally
confounded as why his staff, understanding Ms Nwosu’s request lied and presented

someone to her that wasn’t the director of spa services.

23
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 48 of 192 PagelD# 48
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 49 of 192 PagelD# 49

6.58. ‘Thus, Ms. Nwosu did not have much of a vacation as she was constantly battling to
get the full amenities, and juxury standard that she had come to expect and what she
paid for, throughout her stay and this cost her stress, loss of money because she did
not get what she paid for. For example, Ms Nwosu, on instruction from the
physiotherapist for a mandatory repeat session based on the injuries to the muscles
in her body, had to stay another night, at her own expense because the spa staff, at
her own discretion, elected to lie to Ms Nwosu and cut her sessions, and book her
for the wrong types of therapies.

6.59. The drop in service standards and misrepresentation, while raising prices, is not
limited to the Hilton’s luxury brands but also the Hilton hotels. According to the
Hilton’s SEC filing’s description of the brand, “the Hilton hotels are our upscale,
full-service hotels that typically include swimming pools, gift shops and retail
facilities, meeting and banquet facilities, restaurants and lounges, room service,
parking facilities and other service”

6.60. In the plaintiffs experience this is a bold faced lie / misrepresentation, with the
exception of Hilton’s outside the USA, Hiltons’ within the USA do not offer full
service. In fact they don’t even clean your room anymore — they offer
“housekeeping” in theory whereby housekeepers push carts around like make —
belief meanwhile they don’t even clean the bathrooms. She noticed this omission in
service in the downton Hilton in Denver in June 2024 and again in the Capital Hilton
in July 2024,

6.61. There is nowhere advertised on the booking website this removal, or scaled down
version of cleaning service, which most people have come to expect in 3 star hotels.

6.62. In fact, the plaintiff began staying at the Hilton because it advertised heavily its
clean stay program post COVID, and had seen it implemented in their hotels in

Quebec and Munich in 2023. See Hilton Clean Stay

24
Case 1:24-cv-01959-MSN-WEF Document 1 Filed 10/16/24 Page 50 of 192 PagelD# 50
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 51 of 192 PagelD# 51

Figure 7 Hilton Clean Stay Advert, also publicized on television adverts

STORIES Trends News Videos «Press = Corporate «= Brands Q & Amesicas

Center

July 5,202 News Releases.

Hilton CleanStay

A Cleaner Stay from Check-in to Check-Out

As the world returns te travel, Hillon ceatinues to make the health and safely of
our guests andteam members a lop priority. The Hilton Clean Stay program
delivers an industry-detining st andard of cleanliness across Hilton's family of
brands giebally to give our guests peace of mind from check-in to check-out.

Hikon CleanStay was created in coilaboration with expert partner Reckitt, maker
of Lysoland Deltal,ulilizing stevated clearing procedures with the same
products guests know and trust in their awn homes’.

As guests continue to travel, Hifton CleanSiay will be adapted around the world
to reflect local guidalings and best practices, Additional kay elements of Hiton
ClaanSiay include":

Guest Rooms
+ in addition te Hilten’s existing prot Is, with Hikton ¢ ¥, quest Toom

cleaning prior te check-in includes a specialfocus on high touch areas,
including Eght switches, door handtes and remotes.

Public Areas

* Hilton’s hotels provide an increased Frequency of cleaning in public spaces
incliding disinfecting high touch areas,incleding elevator buttons and
common afaa restrooms.

+ Guests will have access to hand sanitizer and disinfecting wipes in hate!
lobbies.

Housekeeping

~ Guests at any of Hillon’s @ brands have the opportunity to tailor their

6.63. She was surprised thus, when the housekeeper came to “clean” her hotel room in
Denver 2024, and within 5 minutes she was done. The plaintiff noted the bathroom
was left uncleaned, sheets unchanged, floors unvaccumed, and this was her third
night in the hotel room. The housekeeper mentioned her instructions were just to
spray some air freshener, take out the trash, replace the towels and straighen out the
bed. Besides a bathroom cleaning solution, she had no other disinfenctant for the

6.64, In fact when she had checked in at night in June, she was surprised that as she laid
down the bed was wet. Because there were no housekeepers and no similar suites

available, she was just given a blanket to cover the wet bedsheet until the morning,

25
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 52 of 192 PagelD# 52
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 53 of 192 PagelD# 53

6.65. On about June 26th 2023, after complaining to the operations manager on Ruben
Membreno the operations manager said the Hilton stopped its Clean Stay program
silently, unbeknownst to Consumers.

6.65.1, The plaintiff discovered in her stay in July 2024 at the Capital Hilton, that now, the
Hilton charges customers for cleanliness, with its new program called Pure
Rooms, advertising some hypoallergenic unprovable construct for additional
charges.

6.65.1.1. The Pure Rooms are sold to hotel chains like defendants 1 and 4 and proudly

advertise up charging customers for cleanliness, as a means to gain “competitive
advantage

6.65.1.2. The Pure concept involves insider dealings as it is marketed by a former

Marriott and Hilton manager, Haley Payne who is now selling cleanliness, under
the guise of wellness, as an upsell marketing room category to the hotels of

defendant 1 and 4 in the USA.

Figure 8 Pure Room Wellness Ad seen in
Capital Hilton on 1007 K Street, July 12
2024

26
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 54 of 192 PagelD# 54
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 55 of 192 PagelD# 55

Figure 9 advert for pure wellness showing increased incremental revenue for hotets from pureroom.com

~ € > AEB & purecoomcom :

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6.65.2. The Pure concept involves insider dealings/kickbacks as it is marketed by a former
Marriott and Hilton manager, Haley Payne who is now selling cleanliness, under
the guise of wellness, as an upsell marketing room category to the hotels of
defendant I and 4 in the USA.

6.66. Ms Nwosu knows firsthand the importance of having clean air in the room as part
of all hotel room offerings, especially in hotel chains above three stars and describe
themselves as upscale, full service or luxury or advertise publicly about the
cleanliness of their stay.

6.67. On February 6 2024, in staying in a room with the 4" / 5" defendant in Tysons
corner, her nose began to bleed because of the poor quality of the HVAC and at the
lack of cleanliness of the air vent, which prompted an early check out

6.68. In January 2024, when staying with the 4" /5™ defendant in Ritz Georgetown

location, the plaintiff was forced to also check out early because they could not fix

27
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 56 of 192 PagelD# 56
Case 1:24-cv-01959-MSN-WEF Document 1 Filed 10/16/24 Page 57 of 192 PagelD# 57

their HVAC system. During the night the plaintiff had began wheezing and had
runny noses due to poor HVAC quality. The plaintiff avers she suffered personal
respiratory injuries because of the poor air qualities in these locations.

6.69, The defendant 6 apologized and said the vents will be cleaned and the smell of the
HVAC fixed for her next stay, however this was not the case. Upon returning to the
4/5 defendant in Ritz Tysons Corner - Virginia, this July 2024, she checked into
room 1411, an executive suite and the HVAC odor was still present. Ms Nwosu then
asked for a humidifier which did not help, and eventually a staff offered to transfer
her to another suite, suite 1511, which did not have the smell, Not only were these
problems not fixed, as defendant 6 had promised, but was still causing the same

inconveniences like last time more than 6 months later. Thus , the luxury standards
defendant 4/5 were advertising were simply not luxury at all. They simply misled
the plaintiff by lying to her that they intended to fix problems with their hotel, which
they had not intention of fixing, yet the plaintiff relied upon such information and
promises of improvement, returned and paid money to that effect to stay in the hotel

based on false promises of the defendants 1,2,3,4,5,6.

Figure 10 dirty air vents from defendant 5, Tysons | Figure 11 Blood from the nose of Ms Nwosu
corner, emailed to Roman Dauze, General Manager | taken as a result of poor HVAC and air
on February 6 quality in the suite in defendant 5, Tysons

comer

6.70. In June 2023, while on her business tour in Europe, Ms Nwosu’s gold bracelet was
stolen from a hotel room in Defendant 1 at the Hilton Munich City located at

Rosenheimer Str. 15, 81667 Miinchen, Germany, for which she had stay back extra

28
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 58 of 192 PagelD# 58
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 59 of 192 PagelD# 59

days in Munich to file a police report (exhibit 4), speak with the police and the
defective and miss a court case in the USA. This missing of that trial date has in
part cost her in excess of $400,000.00.

6.71. The Hilton staff were slow to respond to the incident, repeatedly questioning Ms
Nwosu on whether she had indeed left the item in the hotel. It was when the bracelet
was not on as she checked out, but was on the previous night when she returned
from Stuttgart, after a meeting with Mercedes Benz, that they began to take her
claim seriously, and testified that only she and the housekeeper had been into the
room. Prior to that they had vouched for the housekeeper, holding him out to be
their employee of 7 years to Ms Nwosu. Ms Nwosu had to extend her stay for at
least 2 extra days to comply with investigations to try to retrieve her newly bought
18 karat gold Firenze cut bracelet. She paid for these stays, the Hilton did not even
as much offer nights off, for her losses. It was after she extended the stay, and
noticed disgusting cleaning housekeeping standards, including using water from the
toilet bow! and toilet brush to clean the seats of the toilet, and using guests face
towels to wipe the floor that she noted the housekeepers were not even Hilton
employees.

6.72. Thus, the Hilton general manager, front desk staff, and operations manager, all
stalled in calling the police, reviewing the cameras, for over 2 days after the
incident, because they were negligently vouching for a person who was not even
their employee, all the while misrepresenting to Ms Nwosu as though he was,
for the sake of dissuading her from believing she had lost the bracelet on site.

6.73. Ms Nwosu never retrieved her lost bracelet until this date or corollary expenses

6.74, She returned to the US in June 2024, and immediately had to begin taking care of
business. At her stay at the Waldorf Astoria, she happened upon the Hilton corporate
management conference, and obtained the contact of the head of security after
recounting both the housekeeping lapses, and negligent violation of inn keeper
common laws that resulted in her losses of her bracelet and corollary expenses.

6.75. John, the head of security took heed to her feedback to her housekeeping and Ms
Nwosu noted that they intended to improve their standards. He also redirected her
to Hilton’s internal insurance, Chubb, for Europe. Unfortunately, because the price
of gold fluctuates as a commodity, Ms Nwosu could only provide the market value

price of the bracelet, and as the seller of the bracelet noted to her on email, the

29
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 60 of 192 PagelD# 60
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 61 of 192 PagelD# 61

bracelet was no longer available and would not be remade by the goldsmith until
further notice. Thus, Ms Nwosu could not recoup the cost of her lost bracelet.

6.76. Ms Nwosu’s contracts with the Hilton during the time of theft is sufficient to satisfy
inn keeper common laws, whereby the hotel owes a special duty to guests in their
hotel under common law doctrines of inn keeper laws, Novak v. Cap. Mgmt. and
Dey, Corp., 452 F.3d 902, 911 (D.C. Cir. 2006). This prerequisite of duty is one of
the fulfilled elements of the claims, which the plaintiff pleads for the tort of
negligence on the part of defendant 1.

6.76.1. Additionally, on July 16 2024, the Capital Hilton committed fraud for when Ms
Nwosu asked before checking in and paying for a room, whether they cleaned the
bathrooms daily in this property, the front desk staff assured Ms Nwosu, Yes they
cleaned bathrooms daily. She sought clarification after her harrowing and
misrepresented experience in Denver 2024 when she found out the Hilton’s daily
cleaning services were skeletal and pretentious at best.

6.77. 1n fact the Capital Hilton was so filthy, that Ms Nwosu saw at least three well fed
jumbo size rats this July 2024 on the property line, and in the garden of their Capital
Hilton, and when she reported it to the front desk staff, they simply said the rats are
outside, i.e. The staff knew fully well they had a rodent infestation on their property,

but were unbothered, did not advice guests of the rodents infestation though the

only thing blocking the rats from entering inside was an automatic sliding door.

6.77.1. Ms Nwosu not only holds that the hotel committed fraud but in fact was unjustly
enriched because although Ms Nwosu checked out early after seeing the rats
repeatedly and witnessing the skeletal housekeeping services, they refused to
provide her with a refund on her unused night, though she asked for it.

6.77.2. As aforementioned, the promises of improving the housekeeping services were
false, defendant | evidently cut housekeeping budgets worldwide, and scaled down
cleaning services. For example, instead of changing sheets every other day, the
Hilton now changes sheets on the 5" night / 6" day, as told by Ruben the operations
manager at Denver and as outlined by the plaintiff, it does not even clean the
bathrooms, while advertising as a full service upper upscale nonetheless, These
instructions are coming from the same corporate office in Virginia, some of the staff
whom Ms Nwosu met in June 2023, and pretended to take her feedback.

Apparently, this bewildering experience is not limited to Ms Nwosu’s experience

30
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 62 of 192 PagelD# 62
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 63 of 192 PagelD# 63

alone. See below similar experience of the hotel’s negligence and gross negligence

in upholding advertised standards.

Figure 12 Similar experiences of deceptive skeletal housekeeping practices being noted by other Hilton staff

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TOPICS “ “limited stayover services,” and basically housekeepers are tald to ignore any soil or splashes on mnirrers or toilets
etc. and figors. Just take trash and give more towels, coffee stuff as needed per room, Is this Hilton standard? Am}
25 internet Culture v crazy te think this is way below par? We've already gollen so many complaints. As | expected. Help ma out here!
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only. I'm still in asd out of those rooms within the suggested § minute time frame.

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6.77.2.1. For advertising as full service, the Hilton Downtown Denver and the Capitol
Hilton Washington DC did not even the basic amenities such as ear bud cleaners,
which they say guests can request if needed, They did not even have the note
pads and Ms Nwosu was given this random book as a concession when she
asked for a Hilton writing pad in Hilton Denver , and this is supposed to be a
full service hotel catering to business travelers who would need such. Ms
Nwosu returned the book, and the operations manager sympathized with her

frustration of the corporate’s penurious slashing of budgets at the expense of

31
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 64 of 192 PagelD# 64
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 65 of 192 PagelD# 65

guests, under false pretenses, and escalated her complaint to Hilton corporate -

who did nothing.

Figure 13 concessionary notepad given to Ms Nweosu in Hilton Denver because of lack of
amenities.

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6.78. None of these “scaled down” skeletal services are advertised anywhere in the
Hilton’s policy. The plaintiff holds that her claims satisfy not just fraud but also the
violation of the DC and Virginia Consumer protection acts. The Denver City Hotel
goes a step further claiming it has a business center though there is none. What they
have is a UPS store, a completely separate business entity for which the guests must
pay separately. Ms Nwosu relied on this misrepresentation/omission in services, and

chose the Hilton when booking, in part because of its advertised business service
center, Ms Nwosu incurred unforeseen costs and expenses as a result.

6.79. Not only are the aforementioned acts fraudulent and in violation of the Virginia
Consumer Protection Act, but they are also in violation of the DC Consumer
Protection Acts code 28-3904 Unfair or deceptive trade practices, whereby it shail
be a violation of this chapter for any person to engage in an unfair or deceptive trade
practice, whether or not any consumer is in fact misled, deceived, or damaged
thereby, including to:

6.79.1. (a} represent that goods or services have a source, sponsorship, approval,
certification, accessories, characteristics, ingredients, uses, benefits, or quantities
that they do not have; in this case with regards to 5 star standards, cleanliness,

having full service ammenities, providing housekeeping, and (d) represent that

32
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 66 of 192 PagelD# 66
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 67 of 192 PagelD# 67

goods or services are of particular standard, quality, grade, style, or model, if in fact
they are of another; (f) fail to state a material fact if such failure tends to mislead;
6.79.2, (f-1) use innuendo or ambiguity as to a material fact, which has a tendency to
mislead; (h) advertise or offer goods or services without the intent to sell them or
without the intent to sell them as advertised or offered;
6.79,2.1. In fact, the Waldorf Astoria which is historiccaly known to be a 5 star brand,
could not even make 5 star status when the Hilton took over the former Trump

Hotel, and converted it to a Waldorf Astoria. It was rated a 4 star hotel.

33
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 68 of 192 PagelD# 68
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 69 of 192 PagelD# 69

Figura 14 Series of screenshots showing that on the Hilton website there is no mention of scaled down
housekeepng services between tuxury and upper scate and mid scale hotels listed, there is distinction
or enumeration. This ommision is fraudulent as it leaves guests perplexed and surprised.

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Figure 15 Denver city hotel advertising they have a business center when in fact they do not have that
ammenity for guests to avail of freely as is expected. They fradulently advartise UPS services as theirs

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34
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 70 of 192 PagelD# 70
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 71 of 192 PagelD# 71

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35
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 72 of 192 PagelD# 72
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 73 of 192 PagelD# 73

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Figure 16 embassy suites is a lower category tier than waldorf astoria yet the policy on housekeeping

variation in housekeeping services

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Figure 17 Watdorf astoria and embassy suites have similar advertised services without any clarity of

36

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 74 of 192 PagelD# 74
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 75 of 192 PagelD# 75

7. With regards to the counts in clause 5.7 Fraud (Ponzi Schemes) and Breach of
Implied & Express warranty (Breach of Contract) & Deceptive Pricing Practices
(Unfair and Deceptive Trade Practices), Negligence, Ms Nwosu confirmed about the
ponzi scheme being run by the corporate head offices of defendants | and 4.

7.1. When she checked into the Hilton Denver around June 23 2024, she sought to book
a suite and asked the front desk staff, Troy, which category below she had to book
in order to qualify for the upgrade, as per the rules of the Hilton Honors rewards
program

7.2. After telling her the category she had to book, he then created a lie, unbeknownst
to the plaintiff at the time, that he could not book the category below because the
system would not fet him, and she had to pay for higher category the room directly

7.3. Tired, Ms Nwosu conceded though she though it was odd. After taking care of her
business, she followed up with an assistant front desk manager about the encounter,
and the assistant front desk manager, Reine, affirmed her suspicion that Troy had
indeed lied to her, to get her to pay more and deny her the benefits she was entitled
to, under the warranties / contracts created by the rewards programs. Ms
Nwosu suffered loss, inconvencience, charges distractions as a result of these illegal
acts by the defendants

7.4, Similarly, defendant 5 — 8 breached their warranty programs when Ms Nwosu paid
with her points, and yet they asked her to pay an $1000.00 for an upgrade to a suite
this July 1 2024.

7.5. Ms Nwosu had initially conceded but later upon checking out she reviewed the
terms and conditions of the loyalty program for Marriott Bonvoy and she found that
there were no exclusions barring upgrades with points as the general manager
Roman Dauze had presented to her (exhibit 5).

7.6. In fact, Roman had enganged in bait & switch pricing, when Ms Nwosu advised she
needed to extend her stay and asked since she would staying for more than 14 days
for a fair rate. Roman said he understood, then asked her to book to reserve the
room, and he would see what he could do with rates to avail her of a discount. Ms
Nwosu pushed back, and said that he should let her know first so she can make a
decision given the cancellation fees. But Roman insisted she book first, and she
should not worry Thus, it was her understanding, and based on the practice of the

defendant 4, given long stay discounts, beyond the listed prices, that she conceded.

37
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 76 of 192 PagelD# 76
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 77 of 192 PagelD# 77

7.7. After booking and obtaining a confirmation number, Roman switched on her, He
told her she had booked the best available rate and then tried to get her to stay to
the end of the week, to see what he can do and “Discuss with his team” citing it was
out of his hands, all after she had extended a stay and obtained a confirmation
number. He did not mention any of this prior, and Ms Nwosu has this all on text.

7.8. Ms Nwosu also recounted this deceptive practice by the Ritz Carlton Georgetown
in June 2024, when the front desk manager,

7.9. Poplin lied to her that there were not suites available for her intended dates, wherein
fact they were and the general manager upgraded Ms Nwosu.

7.9.1. Emma’s lies had been so malicious because she knew Ms Nwosu needed space and
Ms Nwosu had advised if the suite was not available she would not extend her stay.
So when she advised Ms Nwosu that there was no suites and Ms Nwosu mentioned
she would checkout, Emma replied “Perfect.” Meaning that she intended fully to
deprive Ms Nwosu of a stay that was available and deny her the privileges to which
she was entitled.

7.9.2. Ms Nwosu on second thought, before checking out, thought to check with the
general manager on the availability of the suites because already, she had been lied
to by front desk staff that the Ritz brand does not do upgrades, which she knew for
fact was untrue, because she’d been upgraded at Ritz Carltons prior.

7.9.3. Sadly this was not the first time Ms Nwosu had to experience humiliation at a Ritz.
In Tysons corner, Ms Nwosu returned from an outing only to be told that she had
been downgraded, and was locked out of her room. She was informed by the front
desk staff that the upgrade had only been for one night, not the entire stay — contrary
to the Gold Elite Terms and Conditions which advertised it was for the entire stay.
Ms Nwosu had to suffer, tired, arguing before the front desk manager came out and
apologized for the “inconvenience.” Parker, the then valet staff, mentioned he had
never seen that happen to any guest, further alluding to defendant’s 4 negligent and
discriminatory practices in seeking to extort unjustifiably Ms Nwosu and deprive
her of her benefits.

7.9.4, At no point in time did Emma or Rishi mention the Ritz $2000, which the Ritz
Carlton brand is historically known for: allowing for a budget of $2000 to cater to

the unique needs of their guests and keep them loyal

38
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 78 of 192 PagelD# 78
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 79 of 192 PagelD# 79

7.9.5, Atno point in time did these staff from defendant 4 mention the $200.00 Ms Nwosu
would have been entitled to, as part of her gold Elite Member status, should she not
be able to avail of the benefits of her gold elite status (see exhibit 5).

7.9.6. Emma also refused to change Ms Nwosu’s welcome gift when Ms Nwosu
mentioned she had allergies to certain fruit, thought the hotel could readily provide
alternatives. Ms Nwosu asked Emma publicly in the front lobby at least twice, and
knew for certain other gifts like wine/chocolate/cheeses could have been provided.
Emma just sought to deny Ms Nwosu service.

7.10. It is defendant’s 4 and 5’s practice to minimize expenses, even in luxury and find
ways to defraud guests, and maximize profits.

7.11. For example, the managers purport that the rate jukes are due to demand alone when
the rooms are fully booked, but unkionwn to guests, the Ritz Tysons give staff guest
accommodation from available inventory, and this too uses up their inventory and
contributes to a sold out hotel and rate hikes on unsuspecting guests. Ms Nwosu
saw Sera, the concierge and Madison, a front desk staff check into rooms during her
stay.

7.12. In Barcelona Hilton Diagonal Mar, the front desk manager denied Ms Nwosu her
upgrade, Meche Aragones, and even went further to profile her stating it was weird
that she arrived at the night without a reservation

7.12.1. Ms Nwosu explained that her flight took off in the evening and she does not reserve
in advance due to stringent cancellation polices, and especially in new hotels she
has not stayed in before she wasn’t to ensure the standard

7.12.2. Ms Nwosu ended up checking out early because of the racial profiling and also
because the HVAC in her suite was not working, and there were bugs coming out
of the worn bathtub in the suite she paid for.

7.12.3. Ms Nwosu paid over $700 for the highest suite after being denied her upgrade,

though receiving a welcome letter that did not say anything about such exclusions

of room categories. In this case the higher category room_was available so Ms.

Nwosu should not have been denied her upgrade. See below, figure 18:

Figure 18 actual copy of welcome letter showing benefits with no mention of exclusions on room categories from
Hitton Diagonal Barcetona, Spain in May 2024

39
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 80 of 192 PagelD# 80
Case 1:24-cv-01959-MSN-WEF Document 1 Filed 10/16/24 Page 81 of 192 PagelD# 81

Hi lton We are happy to welcame you to
HONORS our hotel as a Diamond Member!

On behalf af the entire team, wo woudl ie to nats you for checsing
iitors Diagonal Mar Barcelona as Your place Co slay inthe city Asa
Diamond Momber, you are amane our most voluer Quests

Asa Blameand Member, we are happy taaffer you

Monday to Friday 07.00 ain - {0,30 am

i Rw } Complimentary Breakfast served an the ¥" fisar
Weekend and Bank Helldays 07 G0 am HOGam

y Executive Lounge Access jocated on thie 15" floor
Ef Opening hours Daily fram 67,00 am - 8-00 pm
Alcoholic Beverages and Canapés are served dally frorn
5.00 pm until 7.00 pm

The hotel is happy to upgrade you to a higher category

| Space Available Room Upgrades
room, Subject to hatet availability

— Free Premium WI-F1 | \ | f
Use our Premium Wi-Fi by inserting the code os

Enhance your stay as a Diamond Member

Bp

Noun ROOT

ae a Unik Your Poot As Hae Ponts Toward
bunt crsetcnl wear Preene Reet GuirieR Frees tahas

Y ® “as

. Room Service and Guest Services
Ge s) Room service is available from 07.00 am until G1.30 am
ae as every day, Order via the QR or by cating 52
me Housekeeping amenities upon request fram 07,30 am to
ison 9.30 pm. Order via the GR ar by calling 7030.
For further assistance calling 9.

Restaurants
MA‘! Bar & Restaurant located in the lobby, opened daily

frarn 08.30 am ~ 01.00 am
Michelin Star Restaurant AURT open from Wednesday ¢ @
Saturday. For reservations please contact email to Hilton

reservas@aurtrestaurane.cony rari tener
urobeach Swimming Pool . .
P rope Pact: Won 20h Please let me know if] can be of further,

o Bar 1h-19h30 oF .
2 Kitchen 12h-18h30 My AWE iS:
Fitness Center 4 °
Our gym Is located on the 2 flogr and open 24/7 i L
MER CHE ARAGon

Sandra Lasse ~ Front of Hause Manager - gandrajasso@iviton.corm 4 .
rel aS a

Pace. guapdia @ hi béou. com

sateen TEES

7.13. Similarly on July 3 2024, Ms Nwosu noted that at the Waldorf Astoria, in
Washington D.C , David Morrison, a new front desk manager from the Hilton

Midtown, came implement their duplicitous practices in the DC luxury brand.

40
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 82 of 192 PagelD# 82
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 83 of 192 PagelD# 83

7,13.1.1. Specifically, Mr Da’Ron Crosby checked Ms Nwosu in, and noted on her profile
that she preferred 721, and whenever she came she was upgraded to that room
as per her complimentary upgrade Diamond member benefits.

7.13.1.2, David Morrison, the new front desk Manager in 2024 tirelessly worked, and
would send Mr Da’Ron Crosby, his junior to Ms Nwosu’s table even whilst she
was having breakfast, to try and downgrade her room under the guise of it
having a cleaner amenities, rather than fix the defunct amenities in her room,
just so they could sell the higher category room immediately, despite its defects.
Ms Nwosu knew this because she had specifically told Mr Morrison to work to
fix the bath tub, carpet stains asap and did not want to be inconvenienced with
switching rooms.

7.13.13. Mr Morrison had also tried to offer Ms Nwosu 40,000 points and she refused,
and specifically stated this was not one of the times she would tolerate going to
a higher category room as a patchy resolve; she insisted they simply needed to
sell what they advertised and fix the problems.

7.13.2. Similarly, the Rome Cavalieri front desk manager, Nicholas, told Ms Nwosu he

spent the past 4 hours assigning room bookings, when Ms Nwosu visited the hotel
in May 2024

7,13.2.1. He had wanted Ms Nwosu to stay in a faulty room with faulty bathroom than
reassign her room.

7.13.2.2, Ms Nwosu could not enjoy her holiday or night’s stay after hearing Mr Nichols
jies trying to convince her that her room was upgraded because it was a higher
floor, despite there being no such category type. He, like Mr Morrison, and
Chris Song, did everything possible, including wear Ms Nwosu out trying
deceive her and deny her Hilton diamond honor benefits, which she availed of
last year, twice when she visited the Astoria. Mr Nichols even tried to stop her
from escalating her complaint. Like the 2nd and 9" defendants, Ms Nwosu
never met Mr Nicholas last year when she stayed at the Waldorf Rome Cavalieri
and must be part of the Hilton’s mission to deceive consumers, limit their ability
to avail of its advertised benefits, breach their implied and expressed warrant
contracts, and reward their managers for sales revenues

7.13.23. Ms Nwosu noted that at the Rome Cavalieri, would note their preferences on
their bookings were waiting long hours to check in as they would first be given

a room that was not noted in their preference and then have to insist, wait and

4]
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 84 of 192 PagelD# 84
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 85 of 192 PagelD# 85

essentially fight for the room they want to have it given. For example, a guest
had wanted a room on the Imperial floor, and noted that on his booking with
two daughters. Ms Nwosu who had asked for that room was told it was not
available. Eventually she watched the guest wait and fight for that room, and
then it became available.

7.14. Ms Nwosu suffers from psychological injuries that manifest physically as upper
back/shoulder muscle fatigue/aches/injury. Such injuries to her body result from of
undue stress such as in the case of having to confront these duplicitous managers.
On all occasions, she had to expend more money booking extra physiotherapy
sessions as a consequence of dealing with unexpected stress of these lying managers
and fraudulent practices of the defendants to breach their express and implied
warranties.

8. Further Breaches of Express & Implied Warranties through Deceptive Trade

Practices and Fraud

8.1. In the past year, Ms Nwosu has noted an increase in room categories, in order to
diminish the value of the rewards program and make it harder to avail of room
category upgrades

8.1.1. For example, once checking into the Waldorf around January 17 2024, she was
initially given an accessible room as an upgrade, because it had a bigger square
footage, and because it was on a higher floor, though it was the same type of room.

8.1.2. Then, the higher category up, was a grand room, and Ms Nwosu argued that a higher
floor was simply a “preference,” not a different room category type; and that a
slightly bigger room with the same layout and amenities, was effectively the same
category type.

8.1.3. Eventually, she was upgraded to an actually different category room with a different
layout, but not after she insisted.

8.1.4. Later, When Ms Nwosu tried to book at the Conrad, Ms Nwosu noted, that a higher

floor preference, was listed as a separate room category type, that one could be

upgraded to. This is simply an unfair practice, because a higher floor has nothing to
do with the actual room size and layout. In fact, sometimes, Ms Nwosu prefers
lower floors when traveling with her dog because it is easier to get out, but because

of all the changes, a higher floor, instead of an actual room category

42
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 86 of 192 PagelD# 86
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 87 of 192 PagelD# 87

9. Altering Room Categories in Order to Diminish/Dilute the Valuc of their Express

and Implicit Warranties in the Points/Loyalty System

9.1, The points are not a commodity that is traded, in fact when the prices of rooms
swing sporadically, the points needed to “purchase” that room remains the same.

9.2. What this shows is that the inherent value of the room has not changed, and in fact

cannot, in the space of a day.

9.3. Essentially, incumbents are being punished/gouged at / taken advantage of unfairly
and unjustifiably because of transient demand, and then subsides.

9.4. By classification, these hotel rooms are time-shares, not tradable commodities and
it is illegal to treat them as otherwise, otherwise they should be regulated by the
SEC ete.

9.5. Last year, when Ms Nwosu booked the Rome Cavalieri, a Waldorf Astoria hotel,
there were not as many categories as there are now. The Rome Cavalieri hotel is an
eight floor rectangular hotel with 2 primary views — the view overlooking the
Roman city, and the view overlooking the street.

9.6. ALL the rooms, with the exception of a few suites, have the same size and layout;
it’s a very basic hotel, in terms of architecture. Yet, from this layout, the Hilton is
able to change the software to create multiple room categories, including a “private
park view.” This upsell in room categories is pure deception Rome Cavalieri has
NO PRIVATE PARK! They even try to split the pool and park view into a category
that one should pay for, whereas one can see both the pool and the park in one view
—see figure 20.

9.7. To Mr Nicholas’ lies which Ms Nwosu exhaustingly refuted, there is no distinction
in the floors, with the exception of the Imperial floor, ic. the 8" floor— which too
should not be something anyone has to pay extra for, because it has rooms of the
same layout. It probably should just be assigned to people who book early for it and
request it, not selling it as a different room category

9.8. The Hilton has fewer properties globally with an executive lounge for Diamond
member, for which they grew in popularity. For example in the Conrad, Ms Nwosu
had to pay $300 extra to access the new “Sakura” lounge; the Cavalieri, similarly

the Rome Cavalieri the Cavalieri lounge one has io pay extra.

43
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 88 of 192 PagelD# 88
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 89 of 192 PagelD# 89

Figure 19 ridiculous hair splitting of room categories when in fact most the rooms are the same size
and most have the same view

 hilton.com c

18 poams found. We've shoving lie average price per aight Sefecteurency (TF EUR Euro

king Detuxe Room 2 Twin Bed Detuxe Room 2 Twin Bed Deluxe Roors with Private Park

Room detaits Rae delats # View
Roos chotads

King Deluxe Room with Private Park View 2 Twin Bed Premium Room with Rome View King Premlum Room wiih Rome View
Room details > Room detaifs » Room ae

2 Twin Secimperial Room Klag fmpeslal Room 2 Twin Beds tmpestal Room with Rame View
Roon detalts > "Rosey cetaite Reom details >

Alcove Suite Park Suite with Park and Poot View

King Imperial Room with Rame View
Room delaits > Roort details * Ronn delat

Figure 20 Photo of the "Rome View" taken in 2023 by Ms Nwosu - there is no private park, you can see
the pool and the park from any batcony on this side of the hotel

44
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 90 of 192 PagelD# 90
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 91 of 192 PagelD# 91

9.9. At the Waldorf Astoria, DC, when they couldn’t change the layout of the rooms,
they behan changing the names of the rooms and demanding higher prices for a
name change, without change to the substantive unit itself. For example, what
previously was a grand room, is one a one bedroom suite, at double the price, which
may be offered at a “deeply discounted” rate of half the price — i.e, the real price.
This fraudulent pricing is in violation of both DC Consumer Protection and Virginia
protection laws, and is frauduient misrepresentation. See Exhibit 7.

9.10. This restrictions on warranties by restricting the booking with points and randomly
changing opportunities to avail of points booking is also wielded more sporadically
by the 4 and 5" defendants, though not by creating frivolous room categories.

9.11. The 5" defendant instead just restricts properties on which can book with points
and the customers do not know which property, or when. It is completely random.
This is an unfair practice because it lacks transparency yet influences the customer’s
decision to join their loyalty program. For example, had the Marriott advertised that
their points can only be redeemed on four out of their twenty plus brands, Ms
nwosu would not have signed up for their rewards. However, they keep their ads
vague, intention is irrelevant. The material fact is she fully relied on the facts they
mentioned in their program to have a reasonable expectation and inference that if
they omitted to exclude that the points were not redeemable whenever she would
like, or at a huge number of their brands, that would not be the case. Whereas the

reverse is true.

45
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 92 of 192 PagelD# 92
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 93 of 192 PagelD# 93

9.12. Additionally, the 5" defendant is totally incongruent in an untransparent manner
with its offerings. For example, on one 7 day stay it will offer breakfast credit and
count it as a long stay. Yet on another 7 day stay in the same hotel, this rate will not

be available.

9.13, This incongruency in its advertised value and sales offering that is based on sheer
randomness only creates a loophole to extort guests, charge them unfairly as they
please and empower their managers to have a fall-back excuse for earning more
commissions. The question remains, what is the true value of the time share room,
food and beverages you are offering guests.

9,14. In fact defendant 6 and 8 weaponized the randomness and alleged obscurity of the
pricing system fo extort money from Ms Nwosu, withhoiding benefits that they
know they ought to give based on historic practices, and her as a repeat corporate
client.

9.14.1. For example both defendant 6 and 8 lied that they cannot offer discounts on long
term rates, and defendant 6 went so far to bait & switch on Ms Nwosu after having
her book a room, extend her stay on the pretense that he would apply a discount
based on her extension. After she extended her stay, Roman boldly lied to Ms
Nwosu stating it was out of his power, as a general manager, and had to go with
what the system showed him

9.14.2. This is untrue as Ms Nwosu’s with managers in the Ritz in Montreal, sua ponte
offered Ms Nwosu a discount on her extended stay, and they book with the same
system,

9.14.3. Similarly defendant 8 had lied to Ms Nwosu that there were discountable long term
rates available, meanwhile Axel, his front desk staff had mentioned they had an in
house guest who had booked an extended stay in one of the suites, and renewed it
as needed, When Ms Nwosu asked for a similar option, defendant 8, steered her
away discriminatorily towards the Rosewood Hotel, and said Axel had misspoken
about the other long term guest that there was no such arrangement.

9.14.4. This price discrimination against Ms. Nwosu is unfair, as a self-employed business
woman who repeated |y brings the suites business, she would be entitled to the same
discounted rate as corporate clients, who do the same thing she does: repeatedly
bring the hotels business through their stays. Somehow, these managers just saw

Ms Nwosu as a cash-cow to exploit, similar to how women’s self-care products like

46
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 94 of 192 PagelD# 94
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 95 of 192 PagelD# 95

shaving sticks became more expensive than men’s in the famous adage: pink it and
shrink it.

9.14.5. Notably, as the court upheld in 2020 in Fessler vs IBM in the Appellate Court for
the 4" circuit, the lack of intention of the other party’s obligation to fulfil a claim
does not matter for the claimant, i.c. the expectation of the failed party to fulfill or
not fulfill the obligation does not matter; what matters to successfully plead the
claim is that the claimant had expectations, based on the actions of the defendant,
that were eventually unmet . That the defendant reserved rights to modify their
terms too is not a valid excuse to dismiss a claim of constructive and actual fraud;
provided that up until the time of the actions, the claimant had a reasonable
expectation based on their understanding of the terms as at the present moment. The
defendant’s rights to change terms does not preclude claims by a claimant in a

breach of contract and fraud tort. Fessler v. IBM Corp., No. 18-2497 (4th Cir. 2020)

10. Counts of Anti Trust Violations — Sherman 1,2, Clayton Act and the Robinson
Patman Act
10.1. In Brown Shoe Co. v. U.S., 370 U.S. 294 (1962), the Supreme Court opined “it has long
been clear that a pattern of acquisitions may itself create a combination illegal under
§ 1, especially when an original anticompetitive purpose is evident from the
affiliated corporations' subsequent conduct. The Yellow Cab passage is most fairly
read in light of this settied rule. In Yellow Cab, the affiliation of the defendants was
irrelevant because the original acquisitions were themselves illegal. An affiliation
"flowing from an illegal conspiracy" would not avert sanctions. Common
ownership and control were irrelevant because restraint of trade was "the primary
object of the combination.” The Government brought suit to enjoin consummation
of a merger of two corporations, on the ground that its effect might be sb- stantially
to lessen competition or to tend to create a monopoly in the production, distribution
and sale of shoes, in violation of § 7 of the Clayton Act, as amended in 1950. The
District Court found that the merger would increase concentration in the shoe
industrv, both in manufacturing and retailing, eliminate one of the cor- porations as
a substantial competitor in the retail field, and establish a manufacturer-retailer
relationship which vould deprive all but the top firms in the industry of a fair
opportunity to compete, and that, therefore, it probably would result in a further

-ubstantial lessening of competition and an increased tendency toward monopoly.

47
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 96 of 192 PagelD# 96
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 97 of 192 PagelD# 97

In this case, the court stopped acquisitions and expansions by [enjoinig] the
appellant from having or acquiring any further interest in the business, stock, or
assets of the other corporation, required full divestiture by appellant of the other
corporation's stock and assets, and ordered appellant to propose in the immediate
future a plan for carrying into effect the Court's order of divestiture.

10.2, Likewise, the plaintiff in this case pleads that defendants | and 4 use their economic
scales from acquisition to stifle competition and choices for consumers in the
market. Specifically, their growth and pattern of acquisition strategies of luxury,
upscale, midscale hotels, is such that it ends up dominating all three market tiers.
Furthermore, this is problematic and lends to the violations of the Robinson Patman
Act because of their use of artificial intelligence to dynamically raise prices across
all hotel tiers simultaneously, at the same day and time, using a single computerized
booking system. Since there are far more Marriotts and Hiltons than other boutique
hotel chains in cities like downtown DC, once those sell out, customers are forced
to comply with the artificially inflated prices of defendant | and 4 across all hotel
lines,

10.2.1. This is a modern spin on the traditional price fixing, now using artificial
intelligence, and it is illegal. An oral, written argument is not necessary between
defendant | and 4, however since both can use their A] powered booking system to
mirror the prices of each other based on demand, price fixing is inferred, and is
sufficient for defendant | and 4 to violate The Sherman Act, via control of prices,
whether intentional or not:

10.2.1.1. “The Sherman Act§ 1 condemns any contracts, | combinations,

and conspiracies in restraint of trade, which includes vertical and horizontal
price-fixing schemes. Horizontal price fixing agreements are the stereotypical
example of price fixing which involves competitors that agree to raise, lower or
stabilize prices, creating a cartel agreement. For example, when two competing
fast-food chains that sell hamburgers agree on the retail price of cheeseburgers,
that horizontal agreement is illegal under the Sherman Act because it would
undermine market pricing. Price fixing does not require an explicitly set price
but can be achieved by agreeing on an algorithm or other method for controlling

prices.”

48

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 98 of 192 PagelD# 98
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 99 of 192 PagelD# 99

10.2.1.2. Illegal price fixing can occur where the parties have not directly communicated

oo 46

with one another. The Sherman Act § | covers “contracts,” “combinations,” or

“conspiracies” formed in order to restrain trade which can occur without formal

communication. For example in /nferstate Circuit v_ United States, the Supreme

Court found a conspiracy to exist among the distributors of films in Texas, even
though no evidence existed of communication among themselves, because each
changed their prices after receiving the same demands from two primary movie
theater companies in the state.

10.2.2. Defendants | and 4 use the same online booking system globally for their respective
brands, it blurs the lines problematically between luxury and alleged midscale
brands, whose tiers were traditionally separated by price.

10.2.2.1. For example an embassy suite can go for the same price as a Waldorf Astoria,

for insufficiently justified reasons such as increased demand. This happened to
the plaintiff on April 18 2024 when there was high demand:

10.2.2.2. In the District of Columbia, the same room in the ritz went from $1300, to

$3000, then $10,000 within the space of one night. On that same night the
Embassy suites climbed up from $200 to $700+ and even when she enquired to
stay in these rooms they ended up not being available. Meanwhile in periods of
low demand, a room in the Waldorf Astoria DC sells for $400

10.3. Such unfair dynamic price changes and flattening among brand tiers misleads and
confuses expectations of services among guests because the advertised services
across brand tiers do not change at all on the websites — so for example it is unclear
if housekeeping is once a week, three times a week or daily,

10.3. 1. Additionally, in the airline industry business class is usually at least twice the price
of the economy class, allowing for a clear distinction in value; and clearly business
class has more amenities, exclusiveness, completely different comfort levels and
service. Furthermore, when prices go up, they go up in a predictable pattern, usually
trending up in ticket prices as the cheaper early bird tickets have been sold.

10.3.2. Notably, because flight tickets are not a commodity or security that can be traded

or transferred, the prices once they go up, typically do not go down, unlike the hotel

industry
10.3.3. The airline industry which is better regulated also offers customers transparent

pricing such that it gives customers the option to to book airfares that are not subject

to rebooking fees or fare differences should their plans have to change in the future.

49
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 100 of 192 PagelD# 100
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 101 of 192 PagelD# 101

Thus, customers can transparently hedge against sporadic rate hikes by paying more

early on, to avoid change fees or fare differences should something happen and they

need to amend their dates.

10.3.4. This is in contrast to an industry with the pricing of defendant 1 and 4 that involves

sporadic upwards fluctuations in that blur the value distinction between lower tier

hotels and luxury hotels, even though the amenities, value delivered are readily

diminishing

Figure 21 example price flattening across luxury and
miscale brands caused by dynamic pricing used by Tst and
4th defendants - the hampton Inn, a midscale brand
normally in the $100/$200 range can go for upwards of $360
and compete with the St. Regis, a luxury brand.

Hampton Inn Washington,
D.C./ White House
6.4 mi fram Alexandra
W Breakfast incuded 22 Pool
Reserve now, pay later
Wonderful

1.001 reviews

$360
$6.244 total
jacludes taxes & fees

The Royal Sonesta Washington
DC Capito! Hill

6.7 mi fram: Maxandria

Reserve pow, pity lated

ey Exceptional
307 reviews

$246 $222
34,412 total
includes taxes & fees

Tixe St. Regis Washington, B.C.
6.74 mi from Alexandria

Wonderful
654 reviews

$5,612 total
inchudes taxes & feos

Conrad Washington, BC
6.76 mi from Alexandria
Reserve naw, pay later

Exceptional
623 roviows

4 expedia.com

Figure 22 Within the Hilton the Conrad a luxury
brand is only $77 dollars more than a Hampton
inn which is at least 8 tiers below the Conrad,
according to the Hilton portfolio

Resarve now. pay lator
fonderful
OD] reviews

$360

$6.264 total
Includes lavas & fees

4 The Royal Sonesta Washington

De Capltot HI
67 mi trom Alexandrla
Reserve nowy, bay lates

a Exceptional
307 reviews

$4,412 tolal
michides taxes & feos

The St. Regis Washington, D.C.
6.74 mi from Afexandila
Wonderful
654 roviews

$6,515 total
incturies taues & faws

Conrad Washington, DC
4.76 mi from Alexandria
Reserve now, pay later

es Exceptional
623 eviews

$437
$7.595 fatal
Includes taxds & foes

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50
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 102 of 192 PagelD# 102
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 103 of 192 PagelD# 103

11. Gross Negligence, Willful and Wanton Negligence on the Part of Defendant 1 and
Defendant 2

11.1. The plaintiff insists that defendant 1 has been grossly negligent in hiring
incompetent staff who do not understand luxury consumerism and luxury to run
fuxury hotels. The closing of multiple luxury locations, aside from Ms Nwosu’s
personal experiences of substandard services is self-evident; including defendant 9
who came from a non-luxury hotel to a luxury hotel

11.2. That grossly defendant | was negligent to re-hire defendant 2 and 3 to the Conrad
Washington, DC, after the Conrad hotel had closed down in New York, Mid-Town,
and they were part of the failure. That it was grossly negligent, if not wantonly
negligent of defendant 1 to let the Conrad run without an operations manager or
general manager, for any time period, while charging guests full, inflated and
exorbitant rates.

11.3. The plaintiff insists that defendant 1 is grossly and wantonly negligent to not
establish an active and competent customer service desk, and that when Ms Nwosu
called to escalate her complaints, the customer service desk did absolutely nothing,
and that filing an official complaint on the website went back to the very hotel she
was complaining about,

11.4. The plaintiff avers defendant | was grossly negligent and wantonly negligent in
receiving her feedback of poor housekeeping and safety services in their hotel, yet
scaling down housekeeping services across their Hilton brands, without advertising
and unbeknownst to guests

11.5. The plaintiff avers defendant | is wantonly negligent to be receiving feedback from
their consumers, managers and yet continue to recklessly expand, placing profits
above people.

11.6. ‘The plaintiff avers defendant 1 is grossly and wantonly negligent to not ensure that
their properties are pest and rodent free, and instead seek to pacify consumers by
callously offering points for substandard hotel rooms, services and cleanliness
standard

11.7. The plaintiff avers defendant 1,4 and 5, are negligent in failing to ensure that their
staff are well educated to treat all guests equitably irrespective of race.

11.7.1. For example, during her stay at the Conrad Algarve in Portugal this May, Ms Nwosu

encountered a hostile front desk staff, Natasha, who voiced her prejudice against

31
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 104 of 192 PagelD# 104
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 105 of 192 PagelD# 105

her for being a walk in and only first booking one night. Natasha called her the next
day well before check out at noon, just to remind her to check out. Sadly for
Natasha, Ms Nwosu elected to extend her stay for seven more days, having found
at first blush, the hotel to be tolerable, and would be initially willing to spend her
money.

11.7.2. Similarly, Ms Nwosu endured prejudice by the staff of Barcelona Hilton
Diagonale, when Meche Aragonés profiled her as suspicious because she checked
in at night. It’s so stupid that the Hilton an international brand would not be
cognizant of the local stereotypes by less educated Europeans who do not know that
Black people can actually be wealthy, and ¢ravel, as they wish, and not have
consciously sought to sereen against such stereotypes, in their hiring.

11.8. Inall these claims the plaintiff has suffered harm, by way of monetary loss in paying
for services she did not receive and/or was not as described, injured bodily as a
result of stress, suffered losses from having to repeatedly move due to lapses in
service quality and availability, stress in availing of benefits, repeatedly, book

physiotherapy treatments from unwarranted stress.

12. Reliefs
Ms Nwosu cannot catch a break, whether itying to take a vacation or rent a room in a hotel for
6 weeks so she can focus on her work; these brands have made it practically impossible to plan,
and to have a reasonable expectation for the service standards they advertise, especially for so
called luxury. The incentivize and empower staff to effectively defraud and deprive guests of
the explicit and implicit warranties they advertise, condone and become indifferent to poor
standards, all the while ever increasing and ripping guests off. All defendants do this in
instances of reckless disregard of prior settlements where they have been forced to pay out
millions of dollars in claims to customers. Apparently, $5 million is not deterrent enough for
illegal practices.
12.1. Wherefore, for all the inconveniences suffered, monies lost, and breaches in service
standards, the plaintiff seeks in excess of $600 million dollars in compensatory and
punitive treble damages from the defendants ,
12.2. She also seeks injunctive relief of $100,000.00 to recover her assets lost during the

iapses of service standards, false advertisements, inter alia.

52
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 106 of 192 PagelD# 106
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 107 of 192 PagelD# 107

Respectfully Submitted,

diy

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Plaintiff

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Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 108 of 192 PagelD# 108
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 109 of 192 PagelD# 109

Exhibit List

Exhibit 1 -2nd booking confirmation, for Conrad Points redemption, early checkout for
Conrad DC, silence by Conrad Team after failed services

Exhibit 2 — email showing duplicative debits on plaintiff's account meanwhile conrad invoice
showing daily charges for pet and deposit were already taken

Exhibit 3 — Hilton police report Munich following theft of Ms Nwosu’s gold jewelry
Exhibit 4 — T&C gold elie status

Exhibit 5 — See list of Marriott and Alexandria chains

Exhibit 6— Capital Hilton, Rodent infestation echange, no refund even on forfeited stays

Exhibit 7 — Lies that there are no discount at the Waldorf Astoria, and then violation of
consumer protection laws marketing a room at double the price, whereas the true value is the

reduced rate.

54
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 110 of 192 PagelD# 110 »
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 111 of 192 PagelD# 111

Certificate of Service

I certify that on the 22nd day of July 2024, I served all the defendants a copy of this complaint at:
1. Hilton WorldWide, Inc.
1775 Tysons Bivd FL 7, McLean, VA, 22102 - 4285, USA
Registered Agent:
Corporation Service Company
251 Little Falls Drive, Wilmington
New Castle, DE, 19808
Defendant I

2. Chris Song
950 New York Ave NW, Washington, DC 20001
Defendant 2

3. Nancy Orlarei
950 New York Ave NW, Washington, DC 20001
Defendant 3

4, Marriott International, Inc.
7750 Wisconsin Avenue,
Bethesda, MD, 20814
Registered Agent:
The Corporation Trust Incorporated
2405 York Road
Suite 201
Lutherville Timonium MD 21093-2264
Defendant 4

5. The Ritz-Carlton Hotel Company, L.L.C.
Registered Agent
Corporation Trust Center 1209 Orange St, Wilmington, New Castle, DE 19801
Defendant 5

6. Roman Dauze
Tysons Corner,
1760 Tysons Corner Bivd,
Defendant 6

7, Emma Poplin
3100 S St, NW, Washington, DC 20007
Defendant 7

& Rishi Malhotra
3100 S St, NW, Washington, DC 20007
Defendant 8

9. David Morrison
1100 Pennsylvania Avenue NW, Washington, DC 20004

55
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 112 of 192 PagelD# 112
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 113 of 192 PagelD# 113

Defendant 9

one

AdaeZe Nwosu, Plaintiff
1802 Vernon Street,
Washington DC 20009

16 October 2024
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 114 of 192 PagelD# 114 e
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 115 of 192 PagelD# 115

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Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 116 of 192 PagelD# 116
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 117 of 192 PagelD# 117

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o> TES TRIGT COURT SONY
Or
ON LEP BBL -

1802 Vernon Street
Washington, D.C.
20008, STE 508

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ad

MN

Clerk of the Supreme Court
of the United States,

1 Street 1 First St NE,
Washington, DC 20543,
USA

15 October 2024

Dear Scott Harris,

RE: Letter Dated 28 August 2024

Are the people running Yale University so arrogant as to think it can corruptly
run the United States through usurpers like yourself? The plaintiff had long
wondered why her certioraris had yet to be filed with the Supreme Court, and
only last week found out that they had been corruptly intercepted by you, Scott
Harris, one of Yale’s ‘hermes,’ the greek god of thieves. If the plaintiffs claims are
baseless, why is Yale pulling every corrupt puppeteering string to bury their
transgressions which the plaintiff cites, before God and man?

With respect to your injudicious letter dated 28 August 2024, stating that there
is no basis for an extraordinary writ of certiorari under the rules of the supreme
court, you are re-directed to its very rules, upon which the plaintiff relied, Rule
20 “Procedure on a Petition for an Extraordinary Writ” on page 24, accessible
from https://www.supremecourt.gov/filingandrules/2023RulesoftheCourt.pdf

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 118 of 192 PagelD# 118
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 119 of 192 PagelD# 119

“case summary, see the page 6 of the petitioner’s for a writ of
wherein & summary is aptly described.

@ communications are prohibited, and in your capacity as clerk, you
uer. have legal authority to review the merits of a plaintiffs case, nor
ctively highlight matters out of context, to serve your corrupt intentions.

, In case you are otherwise cognitively disabled, I advise you declare your
bility, lest you're criminally held responsible for racketeering, fraud,

piracy to cover up and criminal color of law violations. Respectfully, it is my
» for your sake, that you have exhausted your innumerous unconstitutional

ucheries.

re hereby directed to file the plaintiffs writs of certiorari, including the
rdinary writ filed agains the state of Maryland, for which you callously
. issued.a case number and then rescinded it, and for which the plaintiff complied
a Ww th your. fraudulent deterrent orders and resubmitted on September 27 2024.

th Calm Indignation,

Ms Nwosu .

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 120 of 192 PagelD# 120
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 121 of 192 PagelD# 121

EXHIBIT

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 122 of 192 PagelD# 122
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 123 of 192 PagelD# 123

Scott S. Harris

20th cl lerk of the Supreme Court ofthe
oe United States =

Assumed office

September 1, 2013
Preceded | by William K. Suter
~ Personal details

Born Scott Sessions Harris
November 7, 1965 (age 58)

Alma mater Yale University (BS) Gamat
University of Virginia (JD)

pn BS Ho

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 124 of 192 PagelD# 124
SUPREME COURT OF THE UNITED STATES
OFFICE OF THE CLERK
WASHINGTON, DC 20543-0001

August 28, 2024

Adaeze Nwosu

13802 Vernon Street
Ste. 508

Washington, DC 20009

RE: Nwosu v. USA, et al.

Dear Mr. Nwosu:
The above-entitled petition was postmarked and received August 23,
2024, The papers are returned for the following reason(s):

It is unclear how you wish to file. The Rules of this Court make no
provision for filing a petition for an extraordianary writ of certiorari.

Rule 20 addresses petitions for writs of mandamus, prohibition,
mandamus and/or prohibition, and habeas corpus.

If you wish to petition for review of the August 14, 2024 order, your
petition should so specify.

The petition fails to comply with the content requirements of Rule 14, in

that the petition does not contain:
A concise statement of the case. Rule 14.1(g).
The petition must contain the following, in the following order: the

questions presented for review must be followed by the list of parties (if all
do not appear on the cover), corporate disclosure statement (if applicable),
table of contents, table of authorities, citations of the official and unofficial
reports of opinions and orders entered in the case, statement of the basis for
jurisdiction, constitutional provisions, treaties, etc., statement of the case,

reasons for granting the writ, and the appendix. Rule 14.1.

_Case 1: -24- “CV- 01959- ‘MSN “WEF Document 1 Filed 10/16/24 Page 125 of 192 2 PagelD# 1 125

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Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 126 of 192 PagelD# 126
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 127 of 192 PagelD# 127

Bate ee ge tee

Please correct and resubmit as soon as possible. Unless the petition is
submitted to this Office in corrected form within 60 days of the date of
this letter, the petition will not be filed. Rule 14.5,

A copy of the corrected petition must be served on opposing counsel.
The petition exceeds the limit of 40 pages allowed. Rule 33 .2(b).

When making the required corrections to a petition, no change to the
substance of the petition may be made.

Sincerely,
Scott S. Harris, Clerk

By:

* 7S
Redmond K. Barnes
(202) 479-3022

Enclosures
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 128 of 192 PagelD# 128
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 129 of 192 PagelD# 129

USCA Case #245171 Document #2070114 Filed: 08/14/2024 Page 1 of 1

United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 24-5171 September Term, 2023
1:24-cv-01852-CJN
Filed On: August 14, 2024 j2o70114
In re: Adaeze Nwosu,

Petitioner

ORDER

By order filed July 11, 2024, petitioner was directed to either pay the $600
appellate docketing or file a motion for leave to proceed on appeal in forma pauperis by
August 12, 2024. To date, neither the required payment nor a motion has been filed by
petitioner. Upon consideration of the foregoing, it is

ORDERED that this case be dismissed for lack of prosecution. See D.C. Cir.
Rule 38,

No mandate shall issue.

FOR THE COURT:
Mark J. Langer, Cierk

BY: /sf
Scoit H. Atchue
Deputy Clerk
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 130 of 192 PagelD# 130
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 131 of 192 PagelD# 131

EXHIBIT

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 132 of 192 PagelD# 132
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 133 of 192 PagelD# 133

RULES
OF THE
Supreme Court of the
United States

ADOPTED DECEMBER 5, 2022

EFFECTIVE JANUARY i, 2023

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 134 of 192 PagelD# 134
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 135 of 192 PagelD# 135

SUPREME COURT OF THE UNITED STATES

1 First Street, N. E.
Washington, DC 20548

Clerk of the Court wcccssssssssscesssssseseses (202) 479-3011
Reporter of Decisions........sscsesesssesse (202) 479-8390
Marshal of the Cour't....cssessssssscesssers (202) 479-3838
LADY AIAN scssessssescesseresersessenssnsssnsacsonserese (202) 479-8175
Telephone Operator ......essersesssssssssesees (202) 479-3000

Visit the U.S. Supreme Court Website
http://www.supremecourt.gov

Mailing Address of the Solicitor General of the
United States (see Rule 29.4)

Room 5616

Department of Justice

950 Pennsylvania Avenue, N. W.

Washington, DC 20530-0001
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 136 of 192 PagelD# 136
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 137 of 192 PagelD# 137

TABLE OF CONTENTS

Parrl. Tre Cover Page
Rutle 1. Clerk ucscssesssssssesssssursesecenerserssestnsecssses 1]
Rule 2, Library 1
Rule 3. Term 1
Rule 4, Sessions and Quorum 2

Pant il. ATToRNEYS AND COUNSELORS

Rule 5, Admission to the Bar. 2
Rule 6 Argument Pro Hue Vice.. saaes 3
Rule 7. Prohibition Against Practice 4
Rule 8 Disbarment and Disciplinary Aetion 4
Rule 9, Appearance of Counsel 5
Part Il. Jurispicrion on Warr or Cerrioragt
Rule 10. Considerations Governing Review on Certiorarl wuss 5
Rule 11, Certiorari to a United States Court of Appeals Before
Judgment 6
Rule 12, Review on Certiorari: How Sought; Parties... esateueeessesnaes 6
Rule 18, Review on Certiorari: Time for Petitioning ....00e 9
Rule 14. Content of a Petition for a Writ of Certiorari .ccccsssssssesen il
Rule 15. Briefs in Opposition; Reply Briefs; Supplemental Briefs... 14
Rule 16. Disposition of a Petition for a Writ of Certiorari....essn 17
Parrl¥V. Oraer JURISDICTION
Rule 17. Procedure in an Original Action 17
Rule 18, Appeal from a United States District Courts. sanssesesnessoese 18
Rule 19. Procedure on a Certified Question 33
Rule 20. Procedure on a Petition for an Extraordinary WYit ......0. 24
Part ¥. Morions anp ApPLicaTions
Rule 21, Motions to the Court 26
Rule 22, Applications to Individual Justices. aT
Ruie 238. Stays 28
Pagt VI, Baiers on THe Merits AND Onat ARGUMENT
Rule 24. Briefs on the Merits: In Gemeraliusssssecsscssssrssece to 29
Rule 25, Briefs on the Merits: Number of Copies and Time to File.. $1
Rule 26. Joint Appendix a2
Rule 27, Calendar 35

Rule 28. Oral Argument. 36
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 138 of 192 PagelD# 138
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 139 of 192 PagelD# 139

24 SUPREME COURT RULE 20

below shall be filed within 45 days of the order requiring
briefs or setting the case for argument.

Rule 20. Procedure on a Petition for an Extraordinary
Writ

1. Issuance by the Court of an extraordinary writ author-
ized by 28 U.S.C. §1651(a) is not a matter of right, but of
discretion sparingly exercised. To justify the granting of
any such writ, the petition must show that the writ will be
in aid of the Court's appellate jurisdiction, that exceptional
circumstances warrant the exercise of the Court’s discretion-
ary powers, and that adequate relief cannot be obtained in
any other form or from any other court.

2. A petition seeking a writ authorized by 28 U.S.C.
$1651 (a), $2241, or §2254(a) shall be prepared in all respects
as required by Rules 88 and 34. The petition shall be cap-
tioned “Jn re [name of petitioner)” and shall follow, insofar
as applicable, the form of a petition for a writ of certiorari
prescribed by Rule 14. All contentions in support of the
petition shall be included in the petition. The ease will be
placed on the docket: when 40 copies of the petition are filed
with the Clerk and the docket fee is paid, except that a peti-
tioner proceeding in forma pauperis under Rule 39, includ-
ing an inmate of an institution, shail file the number of copies
required for a petition by such a person under Rule 12.2,
together with a motion for leave to proceed in forma pau-
peris, a copy of which shall precede and be attached to each
copy of the petition. The petition shall be served as re-
quired by Rule 29 (subject to subparagraph 4(b) of this Rule).

8. (a) A petition seeking a writ of prohibition, a writ of
mandamus, or both in the alternative shall state the name
and office or function of every person against whom relief is
sought and shall set out with particularity why the relief
sought is not available in any other court. A copy of the
judgment with respect to which the writ is sought, including
any related opinion, shall be appended to the petition to-
gether with any other document essential to understanding
the petition.
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 140 of 192 PagelD# 140
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 141 of 192 PagelD# 141

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SUPREME COURT OF THE UNITED SLATE

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Ar COURT SDNY

Re: Adaeze Nwosu, ,
Petitioner,
vs.

Chief Judge Sri Srinivasan — U.S. Court of Appeals for the
D.C, Cireuit

Chief Judge James Boasberg — U.S District Court for D.C.
Judge Ana C. Reyes - U.S District Court for D.C.

Judge Dabney Friedrich - U.S District Court for the D.C.
Judge Christopher R. Cooper - U.S District Court for D.C,
Judge Carl Nichols - U.S District Court for D.C,

Judge Amy Jackson - U.S District Court for D.C.

Alison Grossman, Special Counsel to the Clerk, U.S. Court
of Appeals for the D.C. Circuit

Scott Atchu, Operations Manager, Operations Manager,
US. Court of Appeals for the D.C, Circuit

. U.S Attorney — Jane Lyens
. Kristen Clarke — Assistant Attorney General, Office of Civil

Rights

. Shaheena Simons — Chief in the Educational Opportunities

Section of the Civil Rights Division at the Department of
Justice.

. The Department of Education, Office of Civil Rights

Judge Milton C Lee
Judge Yvonne Willams
Judge Cari C Ross

. Hewlett Packard Enterprise Co

. American Express Company

, Four Seasons LTD

. The Archdiocese of Denver

. Deutsche Bank Americas Holding Co.

. Yale University

. Executive Committee members of the Liasson Commission

for Medical Education

. University of Miami

. Magdalit Bolduc, Archdiocese of Denver

. Lue Vaillaint, Archdiocese of Denver

. dilian Siegelbaum, Office of Civil Rights, Department of

Education

. Meighan McCrea, Office of Civil Rights, Department of

Education

. Gilian Thompson, Office of Civil Rights, Department of

Education

. Barbara Barzansky, Liaison Committee for Medical

Education

Office of the U.S.
Attorney

Attorney General for
D.C

Corporate/Institutional
Parties

Individual Parties
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 142 of 192 PagelD# 142

31, Robert B. Hash, Liaison Committee for Medical Education

32. Kenneth B. Simons, Liaison Committee for Medical
Education

33. Laura Ment, Yale University

34. Barbara Watts, Yale University

35, Richard S. Weisman

Respondents.

On Petition for a Writ of Certiorari to the United States Court of Appeals for the D.C. Circuit
PETITION FOR AN EXTRAORDINARY WRIT OF CERTIORARI

Adaeze Nwosu

Pro Se

1802 Vernon Street,

Washington, DC, 20009, Ste 508
weoma@gmail.com

202-855-4226

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 143 of 192 PagelD# 143

“Whereas it appeareth that however certain forms of government
are better calculated than others to protect individuals in the free
exercise of their natural rights, and are at the same time
themselves better guarded against degeneracy, yet experience hath
shewn, that even under the best forms, those entrusted with
power have, in time, and by slow operations, perverted it
into tyranny; and it is believed that the most effectual means of
preventing this would be, to iluminate, as far as practicable, the
minds of the people at large, ...whence it becomes expedient for
promoting the publick happiness that those persons, whom nature
hath endowed with genius and virtue, should be rendered by liberal
education worthy to receive, and able to guard the sacred
deposit of the rights and liberties of their fellow citizens,
and that they should be called to that charge without
regard to wealth, birth or accidental condition of
circumstance.”

— Thomas Jefferson, Writings: Autobiography / Notes on the

State of Virginia / Public and Private Papers / Addresses /

Letters
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 144 of 192 PagelD# 144

I, QUESTIONS PRESENTED

1. Can justice be delivered blindly if judges behave corruptly? Whereby
corruptiy means
a. Intentionally withhold ruling on court processes to delay/deny
justice
b, Feign and apply judicial discretion to non-discretionary statutes
to deprive plaintiffs of 14** amendment rights, and ultimately
abuse power
c. Lie about irrefutable facts of a case and common law to deny a
party justice, for example lying about the existence of a civil
division for domestic abuse, or determining jurisdiction of a
defendant based on the residence of a plaintiff, rather than a
defendant
d. Fail to recuse themselves even when they are party to a suit
brought to by a plaintiff based on statutory violations in which
they had no discretion
2. Whether a case can be deemed properly removed to federal court, and
state proceedings suspended, if the judicial officer intentionally
continues proceedings, without first deciding the motions to remand
and oppositions thereof; and if such motions can be decided by a judge

whose objectivity is reasonably questioned
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 145 of 192 PagelD# 145

3. Whether a judge who deems cases concerning statutory breaches of
plaintiffs rights by fellow judges as frivolous, can objectively preside
over such plaintiffs suits?

4, Whether judges have qualified immunity when they act in the absence
of all jurisdiction to violate statutory rights guaranteed by the
constitution rights, recklessly and/or maliciously?

5. Whether a plaintiff can avail of due process constitutional rights when
the appellate court within that circuit blocks plaintiffs being granted
due process and having a case heard on its merits through mischief
and retaliation, and whether such acts are constitutional?

a. For example , whether it is not treasonous and unconstitutional
of clerks in the D.C circuit to repeatedly intentionally misfiling
an appellant’s brief as a response to the appellee’s motion for
summary affirmance, so it may be dismissed and then when
remanded, outrightly dismisses the appellants on the same day

in retaliation?

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 146 of 192 PagelD# 146

HW. TABLE OF CONTENTS

I. QUESTIONS PRESENTED.........cccccunesesenssessccnsereccsseececsccecsnseennenenessnsensssuenrsesees 4
Hh TABLE OF CONTENT S......ccccscecnescnenenssseunscnevensnsercnsscccesanennevessreresenreseenseeuersanse 6
FIL, JURISDICTION |... ccscccecsscnvscsnssuncecuensneusssscncncesecceseccnensengaseennrstsennseesstseseasereucs 7
IV. SIGNIFICANCE TO LOCAL AND GOBAL PUBLIC POLICY. ......ccsseccssrvecansecenseveneas 8
Vi LIST OF PARTIES ....ccsscseonssennusnevneusnenceussseeeevenensasencecesccauaesaunsseneunresssssenenseeres 15
Vi. CONSTITUTIONAL AND STATUTORY PROVISIONS EXPLICITLY AND
IMPLICITYLY RELIED UPON IN THE PLAINTIF’S CERTIORARL .........-secersnrecreeersensese 76
VIL. AN ALLEGORICAL REPRESENTATION OF THE CASES. ......ccsserecersercenssceneeesorane 26
VIH. SUMMARY OF THE PLAINTIFF’S CASES AND JUDICIAL INFRINGEMENT OF
FUNDAMENTAL FREEDOMS ,......senerscssenserensnsnanauseneunncecescesescnessecnsnsessarenseeeneanenans 34

The plaintiff's cases transgress the fundamental freedoms guaranteed by
the U.S. Constititution and actually help improve lives nationally and
internationally: the right to practice religious freedoms, the right to life, the
right to property, through wealth generation and preservation. The
plaintifffappellant, who has boldy not put up with the guiles of judges seeking
to protect the status quo even when it violates the constitution, has been
blackwalled from appealing her cases in the D.C. court of appeals as the courts
have evidently conspired to mis-docket and dismiss her cases illicitly. The
District of Columbia judicial system evidently runs like a club, wherein ex-
parte communications among judges and counsels are rife, and law is
oppressively wielded against non-conforming parties, and the consittuional
provisions and statutes are relegated to the erratic rules of unfaithful judges
to the U.S. Constitution. The plaintiff files this extraordinary writ as she is
unable to exercise her right of appeal, without mischief, and thus has to invoke
this court's supervisory power to safeguard the constitutional protections
afforded persons subject to the U.S. jurisdiction thereof.

IX. WHY THIS WRIT SHOULD BE GRANTED. .....sccccccconeescneessceeneseonsnrsnserearesetseuanes 45
XK, CONCLUSION .....ceeccccccccnsescneusnensvensenaeaevesssssedsessavecersacssesesesensesenseessenenacnes 46
XI. LIST OF RELATED CASES AND STATUS OF THE CASES. ..........ccccscserensnsceacseuees 48
XE. APPENDIX A - ORDERS... .cecsccevevsnensssnseneveccanscececcnsercunsscaneseusenreceenetausedgucouaes 50
XI, APPENDIX B — PLAINTIFF’S APPEALS .......0:0.ccccccsvenseconvensssenescanersccerencesencasens 57
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 147 of 192 PagelD# 147

fli, JURISDICTION

John Steinbeck, author of mice and men once stated “Power does not corrupt. Fear
corrupts... perhaps the fear of a loss of power.”
The appellant files this extraordinary writ of certiorari to the supreme court,
having hit the walls of corruption within the district and appellate courts of the
District of Columbia, wielded by staff and judges alike, to prevent any of the
plaintiffs cases progressing. Notably, all of the plaintiff's cases touch on the most
fundamental freedoms for anyone subject to the US jurisdiction thereof, including
a right to property/wealth, freedom to generate legitimate wealth, a right to
practice religion, and a right to live. Contrary to the statutes and guarantees of
the United States Constitution, the judges, federal government agencies and its
employees listed have a different opinion and instead abuse their powers to mis-
apply the constitution in a manner that treasonous, as they fraudulently pretend
to deliver justice blindly. In reality, these judicial employees have formed a
club/cartel to protect the interests of financial instructions, educational
institutions with large endowments, themselves and their colleagues, all the while
ruling in an oppressive manner that promotes the degeneration and enslavement
of those who are already marginalized in society and/or they do not agree with,
and not exclusive of non-white “non-conformists.” These judges wield this
dictatorial/autocratic agendas through by nonsensical interpretations of law, so
that common sense and the law are jettisoned; outright denial of statutory

provisions, and cover ups among the judges themselves to bury their constitutional

transgressions and abuses of judicial power.
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 148 of 192 PagelD# 148

Having exhausted administrative remedies, and rather than waiting through an
evidently corrupted appeals process, the plaintiff thus files this writ as a recourse
to invoke the SCOTUS’ supervisory role.

This writ is authorized by 28 U.S. C. § 1651(a). The supreme court’s authority
is expressly confirmed in the All Writs Act, 28 U.S. C. § 1651. This statute has
served since its inclusion, in substance, in the original Judiciary Act as a
"legislatively approved source of procedural instruments designed to achieve “the
rational ends of Jlaw.' "Pricev. Johnston, 384 U. S. 266, 282
(1948), quoting Adams v. United States ex rel. McCann, 317 U. S. 269, 273 (1942).
it has been established that the courts may rely upon this statute in issuing orders
appropriate to assist them in conducting factual inquiries, American Lithographic

Co. v. Werckmeister, 221 U.S. 603, 609 (1911)

IV. SIGNIFICANCE TO LOCAL AND GOBAL PUBLIC POLICY

The extraordinary writ is important to public policy and timely because the
plaintiffs complaints touch finance, education, religion, business (wealth
generation) and property rights (wherein financial institutions like Deutsche
Bank are holding onto financial assets, and being unjustly enriched, even though
court orders in other jurisdictions have demanded its release of the plaintiffs
assets). These institutions, including the institutions of stealthy white supremacy,
tarry behind the veil of corrupt judicial practices, wherein the judges don’t practice
blind justice or remember their oath to the 14th amendment to treat everyone
equitabiy before the law and instead inequitably tilt the scales of justice away from

the people to wield power in a manner that is not just morally depraved, but
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 149 of 192 PagelD# 149

shocking to the conscience and unconstitutional, and against the spirit of
American democratic values,

For example in Nwosu vs. American Express Company (“AmEx”) et.al, Ms
Nwosu brought a complaint against large a financial institutions whose rewards
programs subtly alter consumer spending behaviors and psychologies, and place
millions of Americans in debt, all the while making promises they have no
intention or ability to keep, thus breaching their contracts and obligations to the
consumers. Additionally, Ms Nwosu found that Amex had specifically created a
consumer product that had no regulation; it was not a credit card, but a charge
card, meaning though it advertised as a credit card, it was operating within a
regulatory abyss to offer programs it could not enforce or guarantee, and
eventually breaching its contracts to consumers while leaving card fraud
unchecked and unjustly shifting liability to consumers. Unfortunately, these large
financial institutions and institutions with large endowments such as Yale corrupt
judges to protect their interests, instead of the interests of the public. In this
American Express case, the plaintiff was twice denied her due process rights, of
granting her time to oppose a transfer of her case from the state court to the federal
District Court, in an attempt to compel arbitration and/to use more lenient
contract federal laws. The breaches occurred twice, under the auspices of Judge
Carl E. Ross from D.C. Superior Court and Ana C. Reyes and Amy Jackson from
the D.C. district court. In this case against Amex in the Superior court of D.C in
February, 2024, the defendants filed a notice to move the case to federal court
sometime in March 2024. The problem was, federal judge Ana Reyes, to whom the
case was assigned, had been sued by the plaintiff for covering up the statutory

breaches of her colleague Dabney, and failed to recuse herself, though her
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 150 of 192 PagelD# 150

objectivity to preside on the plaintiff's case and even abide by her oath to the US
constitution was evidently in question, and thus necessitating a recusal otherwise
a failure to recuse on such significant grounds would invalidate her orders. Ana
failed to recuse citing the plaintiff's complaint of her colleague and her apparent
transgressions of the constitution as “frivolous.” Recusals aside, Furthermore, Ana
did not have the authority to preside over the case because she never decided if
the removal was proper until four months later, meanwhile she had been dolling
out necessarily invalid orders prior. On April 17, 2024, the plaintiff had filed a
motion to remand, citing the exception in 28 U.S. Code § 1441 (c)(1)(B), wherein
the state had exclusive jurisdiction because the entire complaint was predicated

on state law, which the plaintiff chose, and had a right to choose, as the party

bringing the suit, and the plaintiff would be prejudiced by a change to federal law.
Thus, without first deciding the plaintiffs motion to remand, and whether the
transfer was proper the state technically, still had jurisdiction over the case. See
Allstate Ins. Co. v. Superior Court, 132 Cal. App. 3d 670, 675-76, 183 Cal. Rptr.
330,883 (1982), Dauenhauer v. Superior Court, 149 Cal. App. 2d 22, 24, 307 P.2d
724, 726 (1957); State v. Lehman, 203 Neb. 341, 278 N.W.2d 610, 615 (1979). “The
state court's jurisdiction will come to an end under either of two sets of
circumstances. In the first instance, the state court loses jurisdiction if the federal
court obtains jurisdiction as a result of a proper removal. Id. at 676, 183 Cal. Rptr.
at 333; see supra notes 1-2 and accompanying text, Alternatively, the state court
loses jurisdiction if the federal court determines that the state court never had
jurisdiction over the lawsuit.” In the plaintiffs case, neither of these things
happened: Ana, made no mention of remanding the suit, or deciding to adopt state

law in federal court, so as to not prejudice the plaintiff. Rather, she jettisoned the

10
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 151 of 192 PagelD# 151

entire rules of federal civil procedure, and rather incompetently, became a dictator
yiding on her own set of rules. The plaintiff also brought suit against Carl Ross,
the D.C judge, because until the transfer of the forum is deemed proper, he ought
to have known, that he had not lost jurisdiction, and that the plaintiffs pending
motions of default against the defendant and motion to reconsider issuing a notice
of transfer in March, were valid. Unfortunately, Ana’s conduct is the most morally
depraved of all the judges Ms Nwosu has come across, perhaps because of her
upbringing during a Uruguayan dictatorial regime; in this case, she did not rule
on the plaintiffs motion to remand the case for 4 months because evidently she
already was prejudiced against the plaintiff and desired to oppress the plaintiff
under the color of law and her own constitution.

The plaintiff notes that the meddling of financial institutions to corrupt judges
is nothing new, and allegedly occurs in the Supreme Court itself with
representatives moving for impeachment proceedings of judges Alito and Clarence
who receive kickbacks from such powerful institutions to sway public policy in
their favor and who would necessarily have to recuse themselves from these
cases!. Similarly, in Nwosu vs Yale et al. Yale University was found to be operating
the very phone lines of the Department of Education’s Office of Civil Rights, where
the plaintiff was leaving her voicemail complaints of civil rights violations against
Yale University. Ms Nwosu brought the obstruction of justice to the notice of the
department of justice, specifically to Ms Kristen Clarke and Ms Shaheena Simons,
a Yale graduate in February 2023, and although the Department of Education’s

voicemail was promptly changed to remove mentions of Yale, following the

1 Rep, AOC Delivers Major Ficor Speech on Articles of Impeachment Against Justices Thomas and Alito s

il
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 152 of 192 PagelD# 152

plaintiffs complaint, Ms Nwosu’s case against Yale university in the Department
of Education, remained shelved indefinitely. This fraud, racketeering and
conspiracies with governmental employees are akin to the Watergate Scandal that
led to the impeachment of Nixon upon discovery. Yet the judicial system has
become so brazenly corrupt that the judges themselves protect the transgressions
of these institutions.

In all her cases, the plaintiff, a “black” woman, by America’s standards of racial
classification, has audaciously challenged predominantly white institutional
bullies, which is shocking to both black and white judges alike, because in part
though America has made strides to recognize black people as fully human, in
reality, the former white slave owners turned pro-segregationists, have not really
come that far in overhauling their slave mentality so in the darkest recesses of
their hearts, there is an unwavering belief, however slight, that white people are
superior to blacks. In the most unsuspecting moments of daily life, the plaintiff
has borne witness to such sentiments that black people should have “left-overs,”
and that black people should be “grateful” for the considerate remnants given by
whites, On one occasion while shopping, the young white store attendant, declined
offering directions to another white male, stating he couldn’t assist because he did
not know anything as he was just “the help.” Similarly, vice president nominee and
Yale graduate, senator J.D. Vance echoed undertones of entrenched white
privilege and superiority, when he said he did not think Kamala Harris is
“grateful” for the history of America®. Accordingly, some black people have

adjusted to operating within the “6 mile radius” gratuitously afforded them by

? Senator J.D Vance stating Vice President Kamala Harris should be grateful for America’s [slave] history

12
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 153 of 192 PagelD# 153

whites, wherein justices thus like, Carl K. Ross, Yvonne Williams, Milton E Lee,
intentionally answer “white” names to become palatable chameleons to their
former slave owners, and not only turn a blind eye of indifference to transgressions
against their ethnicity, but act as guards turning facts and common law doctrines
on their head, to protect the interest of their white masters, even though they have
the power to administer justice racially blind justice as is expected. Thus,
although they slam the gavel to issue orders, their hands remain invisibly bound
in chains, and their remain tails between their legs beneath the black veil of their
judicial robes, covering a multitude of suppressed emotions such as fear of falling
out of favor and ultimately drowning any inclinations to uphold the truth. In fact
Judge Yvonne Williams spent her career as a black lawyer earning a living by
protecting the status quo of discrimination; i.e. receiving paychecks for being a
black guard against her own ethnicity, blocking discrimination cases brought by
aggrieved employees against their institutions. Yet she unashamedly played the
race card and remembered she was “black,” when it was time to diversify the
judiciary, and ultimately became former president Obama’s nominee in 2011. In
the plaintiffs case over which she presided, she lied to cover up abuse, by skewing
the facts of the case to such a degree so as to find illicit cause to dismiss the
plaintiffs complaint: she lied that a whole civil division of the superior court of
D.C dedicated to domestic abuse was non-existent, and so domestic abuse could
only be prosecuted criminally, and so the plaintiff failed to state a claim upon
which a relief could be brought; she dismissed then promptly closed the case, Such
transgressions of law by judicial officials are incredibly shocking to the conscience.
Koessel v. Sublette Cnty. Sheriff's Dep't, 717 F.8d 736 (10th Cir. 2013) and County

of Sacramento v. Lewis, 528 U.S. 833, 118 S. Ct. 1708 (1998).

13

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 154 of 192 PagelD# 154

The plaintiff's case also involves transgressions by Yale graduates who occupy
influential positions within the judiciary of the District of Columbia and the U.S
have evidently played a role in stopping the plaintiffs complaints from
progressing®. The plaintiff thus files this writ following the morally depraved and
unconstitutional manner in which justices in the District of Columbia adjudicate
with impunity and invincibility. Extraordinary writs may be filed at any time and

have no time limits, unlike standard writs of certiorari.

God who gave us life gave us liberty. Can

the liberties of a nation be secure when we

have removed a conviction that these

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LIBERTY: eco ipeatii
NATION Be secuae 4 REN WE
“REMOVED A CONVICTION THAT THESE
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: : “INDEED I TREMBLE FOR MY coun t
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: THAT His JUSTICE CANNOT SLEEP FOR. |
/ EVER, COMMERCE BETWEEN MASTER
AND SLAVE tS DESPOTISM. NOTHING: :
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BOOK OF PATE THAN THAT. THESE, oe

liberties are the gift of God?

indeed I tremble for my country when I

reflect that god is just, that his justice
cannot sleep for-ever. Commerce between
master and slave is despotism. Nothing is

PEOPLE ARE TO. DE FREE: ESTABLISH: more certainly written in the
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FECT AND ON Loa . '
OF THE STATE TO EF ben be free. Establish the law for educating the
PLA (*
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Book of fate than that these people are to

common people, This it is the business of

the state to effect and on a general plan.

- Thomas Jefferson

Figure { image caption of words by Thomas Jefferson,
one of the nation’s founding father's from his memorial
in the nation's capital

* The Chief Judge of the US District Court is a Yale graduate, the university against which the plaintiff has
brought a complaint; Judge Dabney is a Yale graduate, Shaheena Simons; more are in the appeflate D.C court.
Tn the Supreme Court, Brett Kavanaugh is a Yale graduate and the plaintiff remembers him being broken on T.V
because of allegations of sexual misconduct, and then eventually being sworn in.

14
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 155 of 192 PagelD# 155

Vv. LIST OF PARTIES

The United States of America

1.

2.

Chief Judge Sri Srinivasan ~ U.S. Court of Appeals for the D.C. Circuit
Chief Judge James Boasberg — U.S District Court for D.C.

Judge Ana C. Reyes - U.S District Court for D.C.

Judge Dabney Friedrich - U.S District Court for the D.C.

Judge Christopher R. Cooper - U.S District Court for D.C.

Judge Carl Nichols - U.S District Court for D.C.

Judge Amy Jackson - U.S District Court for D.C.

Alison Grossman, Special Counsel to the Clerk, U.S. Court of Appeals for
the D.C, Circuit

Scott Atchu, Operations Manager, Operations Manager, U.S. Court of

Appeals for the D.C. Circuit

10.U.8 Attorney — Jane Lyons

11. Kristen Clarke — Assistant Attorney General, Office of Civil Rights at the

Department of Justice

12. Shaheena Simons — Chief in the Educational Opportunities Section of the

Civil Rights Division at the Department of Justice.

13.The Department of Education, Office of Civil Rights

Attorney General for the District of Columbia

1.

2.

3.

Judge Milton C Lee
Judge Yvonne Williams

Judge Carl C Ross

Corporate / Institutional Parties

15
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 156 of 192 PagelD# 156

8.

Hewlett Packard Enterprise Co

American Express Company

Four Seasons LTD

The Archdiocese of Denver

Deutsche Bank Americas Holding Co.

Yale University

Executive Committee members of the Liasson Commission for Medical
Education

University of Miami

Individual Parties

1

8.

9.

Magdalit Bolduc, Archdiocese of Denver

Lue Vaillaint, Archdiocese of Denver

Jilian Siegelbaum, Office of Civil Rights, Department of Education
Meighan McCrea, Office of Civil Rights, Department of Education
Gilian Thompson, Office of Civil Rights, Department of Education
Barbara Barzansky, Liaison Committee for Medical Education
Robert B. Hash, Liaison Committee for Medical Education
Kenneth B. Simons, Liaison Committee for Medical Education

Laura Ment, Yale University

10. Barbara Watts, Yale University

11. Richard S. Weisman

VI. CONSTITUTIONAL AND STATUTORY PROVISIONS
EXPLICITLY AND IMPLICITYLY RELIED UPON IN THE
PLAINTIF’S CERTIORARI

Constitutional Provisions

16
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 157 of 192 PagelD# 157

1. United States Constitution, Amendment XIV:

All persons born or naturalized in the United States, and subject to the
jurisdiction thereof, are citizens of the United States and of the State
wherein they reside. No State shall make or enforce any law which shall
abridge the privileges or immunities of citizens of the United States; nor
shall any State deprive any person of life, liberty, or property, without due
process of law; nor deny to any person within its jurisdiction the

equal protection of the laws.

b. United States Constitution, Amendment XIV Section 5

The Congress shall have power to enforce, by appropriate legislation, the

provisions of this article.

2, The Supremacy Clause in Article VI, Clause 2:

This Constitution, and the Laws of the United States which shall be made
in Pursuance thereof: and all Treaties made, or which shail be made, under
the Authority of the United States, shall be the supreme Law of the
Land; and the Judges in every State shall be bound thereby, any
Thing in the Constitution or Laws of any State to the Contrary

notwithstanding.

3. The Supremacy Clause in Article VI, Clause 3:

The Senators and Representatives before mentioned, and the Members of
the several State Legislatures, and all executive and judicial Officers,
both of the United States and of the several States, shall be bound
by Oath or Affirmation, to support this Constitution; but no religious
Test shall ever be required as a Qualification to any Office or public Trust

under the United States.

4, United States Constitution, Amendment V.

No person shall be held to answer for a capital, or otherwise infamous crime,
unless on a presentment or indictment of a Grand Jury, except in cases

arising in the land or naval forces, or in the Militia, when in actual service

17

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 158 of 192 PagelD# 158

in time of War or public danger; nor shall any person be subject for the same
offence to be twice put in jeopardy of life or limb; nor shall be compelled in
any criminal case to be a witness against himself, nor be deprived of life,
liberty, or property, without due process of law; nor shall private
property be taken for public use, without just compensation.

Procedural due process often requires the government to provide
a person with notice and an opportunity for a hearing before such

a deprivation4

In addition, the Supreme Court has interpreted the Fifth Amendment’s Due
Process Clause to include substantive due process guarantees that protect
certain fundamental constitutional rights from federal government
interference, regardless of the procedures that the government follows when

enforcing the law®.

5. United States Constitution, Amendment XIIF

Neither slavery nor involuntary servitude, except as a punishment for
crime whereof the party shall have been duly convicted, shall exist within the

United States, or any place subject to their jurisdiction.

6. Civil Rights Act of 1866
The Civil Rights Act of 1866 mandated that “all persons born in the United

States,” with the exception of American Indians, would be declared as
“citizens of the United States.” The Act then guaranteed that all
“citizens, of every race and color ... shall have the same right...
to make and enforce contracts, to sue, be parties, and give

evidence, to inherit, purchase, lease, sell, hold, and convey real

* 4. Twining v. New Jersey, 211 U.S. 78, 110 (1908); Jacob v. Roberts, 223 U.S.
261, 265 (1912)

> Zablocki v. Redhail, 434 U.S. 374, 386-87 (1978), citing Loving v. Virginia, 388
U.S. 1 (1967)

18
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 159 of 192 PagelD# 159

and personal property, and to full and equal benefit of all laws

and proceedings for the security of person and property.”

Statutes

7. Title VI Civil Rights Act of 1964
Title VI of the Civil Rights Act of 1964 prohibits discrimination based on

race, color, or national origin in programs or activities that receive federal

financial assistance.

8. 42 U.S. Code § 1983 - Civil action for deprivation of rights

Every person who, under color of any statute, ordinance, regulation, custom,
or usage, of any State or Territory or the District of Columbia, subjects, or
causes to be subjected, any citizen of the United States or other person
within the jurisdiction thereof to the deprivation of any rights, privileges,
or immunities secured by the Constitution and laws, shall be liable to the
party injured in an action at law, suit in equity, or other proper proceeding
for redress, except that in any action brought against a judicial officer for
an act or omission taken in such officer’s judicial capacity, wherein torts

_involving gross/reckless negligence and/or malice, are not considered within
the scope of judicial capacity. A judge may be held civilly liable when acting
in “clear absence of all jurisdiction” see Bradley v. Fisher, 80 U.S. (13 Wall.)
338, 851 (1872).

Ordinances & Regulations

9, Incorporation Doctrine/ Bill of Rights under Amendment XIV

Modern Supreme Court doctrine embraces the doctrine of selective
incorporation of the Bill of Rights against the states, meaning that the
Court has held on a case-by-case basis that many of the provisions of the
Bill of Rights limit state government action. Numerous Supreme Court
decisions hold that particular provisions of the Bill of Rights have been

applied to the states through the Fourteenth Amendment’s Due Process

19

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 160 of 192 PagelD# 160

Clause. Primarily through the doctrine of selective incorporation, the Court
has held that most provisions of the Bill of Rights apply to the state
constitutional provisions, treaties, statutes, ordinances & regulations

involved in the case.

Case Lau/ Legal Precedent explicitly and implicitly referenced for
claim standing
10. Bradley v. Fisher, 80 U.S. (13 Wall.) 385, 351 (1872).

e Ajudge may be held civilly liable when acting in “absence of all
jurisdiction”

11. Harlow v. Fitzgerald, 457 U.S. 800 (1982)

¢ Federal officials seeking absolute immunity from personal liability
for unconstitutional conduct must bear the burden of showing that
public policy requires an exemption of that scope. Pp. 457 U.S. 806-
808.

e Under the "functional" approach to immunity law, immunity
protection extends no further than its justification warrants.
Pp. 457 U. 5. 809-811.

« (b) While absolute immunity might be justified for aides entrusted
with discretionary authority in such sensitive areas as national
security or foreign policy, a "special functions" rationale does not
warrant a blanket recognition of absolute immunity for all
[government officials] in the performance of all their duties. To
establish entitlement to absolute immunity, a [governmental

official] first must show that the responsibilities of his office

20
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 161 of 192 PagelD# 161

embraced a function so sensitive as to require a total shield from
liability. He then must demonstrate that he was discharging the
protected function when performing the act for which liability is
asserted.

12. Jacob v. Roberts, 223 U.S. 261, 265 (1912)

18. See Allstate Ins. Co. v. Superior Court (1982)

14. State v. Lehman (1979)

15. Dauenhauer v. Supertor Court (1957)

e Part of due process under the XIV amendment is notice. Judge Carl
Ross failed to reconsider his decision to transfer the plaintiffs suit
against American Express to the Federal District because he made
the decision without first allowing the plaintiff to submit her
opposition, and even after receiving such opposition failed to
reconsider the matter, and although the case was not properly
removed to federal court and the jurisdidction thereof, of the district
court was illegitimate

16. Korematsu v. United States (1944)

e It should be noted, to begin with, that all legal restrictions which
curtail the civil rights of a single racial group are immediately
suspect. That is not to say that all such restrictions are
unconstitutional. It is to say that courts must subject them to the
most rigid scrutiny.

« Justice Murphy noted “this exclusion of ‘all persons of Japanese

ancestry’... goes over ‘the very brink of constitutional power,’ and

21

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 162 of 192 PagelD# 162

falls into the ugly abyss of racism,” Justice Murphy concluded that
the exclusion of Japanese-Americans “deprive[d] all those within its
scope of the equal protection of the laws as guaranteed by the Fifth
Amendment.”
e Barnett, Randy E.; Blackman, Josh. An Introduction to
Constitutional Law: 100 Supreme Court Cases Everyone Should
Know (p. 102), Aspen Publishing. Kindle Edition.
17. In Trump v. Hawaii (2018),
¢ Chief Justice Roberts wrote that “Korematsu was gravely wrong the
day it was decided, has been overruled in the court of history, and—~
to be clear— has no place in law under the Constitution.”
18. Braatelien v. United States, 147 F.2d 888 (8th Cir. 1945).

e On Waivers of Judicial Immunity on a Federal level: [Judges] may
be held criminally and/or [civilly] responsible when [they] acts
fraudulently or corruptly. Judicial title does not render its holder
immune to crime and/or [civil remedies] even when committed
behind the shield of judicial office.

19. Koessel v. Sublette Cnty. Sheriff's Dep't, 717 F.3d 736 (10th Cir. 2013) and
County of Sacramento v. Lewis, 523 U.S. 833, 118 8. Ct. 1708 (1998)

e What differentiates a constitutional transgression from an

ordinary common law tort is a "level of executive abuse of power . .

. that ...shocks the conscience." Id. at 846, 118 S.Ct. 1708. In other

words, the executive abuse represents “arbitrary action of

government" and requires a showing of government officials

22
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 163 of 192 PagelD# 163

"abusing their power, or employing it as an instrument of

oppression." Id. at 845-46, 118 S.Ct. 1708 (quotations and

brackets omitted).

20. Seegmiller v. Laverkin City, 528 F.3d 762 (10th Cir. 2008)

« The Due Process Clause of the Fourteenth Amendment protects
individuals against state action that either ‘shocks the conscience,’
or interferes with [fundamental] rights “implicit in the concept of
ordered liberty'

21. Hogan v. City of El Dorado, 455 F. Supp. 2d 876, 884 (W.D. Ark. 2006)

e The Fourteenth Amendment guarantees "[s]ubstantive due process
[, which] prevents the government from engaging in conduct that
shocks the conscience or interferes with rights implicit in the
concept of ordered liberty." Moran v. Clarke,296 F.3d 638,
643 (8th Cir. 2002) (alterations in original) (quoting Weiler v.
Purkett,137 F.3d 1047, 1051 (8th Cir. 1998) (en bac)). To establish
a substantive due process claim, Hogan must prove that "a
government action was ‘sufficiently outrageous' or ‘truly irrational,
that is, something more than... arbitrary, capricious, or in
violation of state law." Young v. City of St. Charles,244 F.3d 628,
628

22. Jones vu. City of Chicago, 856 F.2d 985, 992 (7*Cir. 1988)).

« A supervisor can only incur liability for a violation of a federally
protected right when the supervisor is personally involved in the

violation or when the supervisor's corrective inaction constitutes

23
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 164 of 192 PagelD# 164

deliberate indifference toward the violation. Choate v. Lockhart, 7
F.3d 805, 809 (8 Cir. 1994)
23, Sanchez v. City of Fresno, 914 F. Supp. 2d 1079, 1099 (E.D. Cal. 2012)

e The Fourteenth Amendment bars “any State [from] depriv[ing] any
person of life, liberty, or property, without due process of law.” U.S.
Const. Amend. XIV, § 1. The Due Process Clause of the Fourteenth
Amendment encompasses two types of protections: substantive
rights (substantive due process) and procedural fairness
(procedural due process). See Zinermon v. Burch,494 U.S. 113, 125—
28, 110 S.Ct. 975, 108 L.Ed.2d 100 (1990).

e Courts are instructed to resist the temptation to augment the
substantive reach of the Fourteenth Amendment, “particularly if it
requires redefining the category of rights deemed to he

fundamental.” Bowers v. Hardwick,A78 U.S. 186, 195 (1986),

overruled on other grounds, Lawrence v. Texas, 539 U.S. 558, 123

S.Ct. 2472, 156 L.Ed.2d 508 (2003).

24. Collins v. Harker Heights, 503 U.S. 115, 112 S. Ct. 1061 (1992)

« The substantive component of the Due Process Clause is violated
by executive action only when it “can properly be characterized as
arbitrary, or conscience shocking, in a constitutional sense.” Collins
v. City of Harker Heights, 503 U.S. 115, 128, 112 S.Ct. 1061, 117

L.Ed.2d 261 (1992).

24
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 165 of 192 PagelD# 165

25. Friends of Roeding Park v. City of Fresno, 848 F. Supp. 2d 1152 (H.D. Cal.
2012)

« To state a substantive due process claim, plaintiff must allege “a
state actor deprived [him] of a constitutionally protected life,
liberty, or property interest.”

e To put it another way, the concept of substantive due process,
“forbids the government from depriving a person of life, liberty, or
property in such a way that ‘shocks the conscience’ or ‘interferes

203

with rights implicit in the concept of ordered liberty’ ” Nunez v.
City of Los Angeles, 147 F.8d 867, 871 (@th Cir.1998)
(quoting Rochin v. California, 342 U.S. 165, 172, 72 S.Ct. 205, 96
L.Ed. 183 (1952))

e To state a claim for violation of procedural due process, plaintiff
must allege: (1) a deprivation of a constitutionally protected liberty

or property interest, and (2) a denial of adequate procedural

protections. Kildare v. Saenz, 325 F.3d 1078, 1085 (9th Cir,2003).

25

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 166 of 192 PagelD# 166

VII. AN ALLEGORICAL REPRESENTATION OF THE CASES

Many years ago there was an Emperor so exceedingly fond of new clothes that
he spent all his money on being well dressed. He cared nothing about reviewing
his soldiers, going to the theatre, or going for a ride in his carriage, except to show
off his new clothes. In the great city where he lived, life was always gay. Every day
many strangers came to town, and among them one day came two swindlers. They
let it be known they were weavers, and they said they could weave the most
magnificent fabrics imaginable. Not only were their colors and patterns
uncommonly fine, but clothes made of this cloth had a wonderful way of
becoming invisible to anyone who was unfit for his office, or who was
unusually stupid. “Those would be just the clothes for me,” thought the Emperor.
“tf I wore them I would be able to discover which men in my empire are unfit for
their posts. And I could tell the wise men from the fools. Yes, I certainly must get
some of the stuff woven for me right away.” He paid the two swindlers a large sum
of money to start work at once.

The weavers set up two looms and pretended to weave, though there was
nothing on the looms. All the finest silk and the purest old thread which they
demanded went into their traveling bags, while they worked the empty looms far
into the night. “I’d hke to know how those weavers are getting on with the cloth,”
the Emperor thought, but he felt slightiy uncomfortable when he remembered that
those who were unfit for their position would not be able to see the fabric. It
couldn’t have been that he doubted himself [as stupid or unfit for office],

yet he thought he’d rather send someone else to see how things were

26
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 167 of 192 PagelD# 167

going. The whole town knew about the cloth’s peculiar power, and all were
impatient to find out how stupid their neighbors were. “I'll send my honest old
minister to the weavers,” the Emperor decided. “He'll be the best one to tell me
how the material looks, for he’s a sensible man and no one does his duty
better.” So the honest old minister went to the room where the two swindlers sat
working away at their empty looms. “Heaven help me,” he thought as his eyes flew
wide open, “I can’t see anything at all’, But he did not say so. Both the swindlers
begged him to be so kind as to come near to approve the excellent pattern, the
beautiful colors. They pointed to the empty looms, and the poor old minister stared
as hard as he dared. He couldn’t see anything, because there was nothing to see.
“Heaven have mercy,” he thought. “Can it be that I’m a fool? ’'d have never
guessed it, and not a soul must know, Am I unfit to be the minister? It
would never do to let on that I can’t see the cloth.”

“Don’t hesitate to tell us what you think of it,” said one of the weavers.

“Oh, it’s beautiful-it’s enchanting.” The old minister peered through his spectacles.
“Such a pattern, what colors!” I’ll be sure to tell the Emperor how delighted I am
with it.”

The Emperor presently sent another trustworthy official to see how the
work progressed and how soon it would be ready. The same thing happened to him
that had happened to the minister. He looked and he looked, but as there was
nothing to see in the looms he couldn’t see anything. “Isn’t it a beautiful piece of
goods?” the swindlers asked him, as they displayed and described their imaginary
pattern, “I know I’m not stupid,” the man thought, “so it must be that ’m

unworthy of my good office. That’s strange. I mustn’t let anyone find it out,

27

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 168 of 192 PagelD# 168

though.” So he praised the material he did not see. He declared he was delighted
with the beautiful colors and the exquisite pattern. To the Emperor he said, “It
held me spellbound.”

All the town was talking of this splendid cloth, and the Emperor wanted to see it
for himself while it was still in the looms. Attended by a band of chosen men,
among whom were his two old trusted officials-the ones who had been to the
weavers-he set out to see the two swindlers. He found them weaving with might
and main, but without a thread in their looms.“Magnificent,” said the two officials
already duped. “Just look, Your Majesty, what colors! What a design!” They
pointed to the empty looms, each supposing that the others could see the stuff.
“What's this?” thought the Emperor. “I can’t see anything. This is terrible!

Am Ja fool? Am I unfit to be the Emperor? What a thing to happen to me
of all people! — Oh! It’s very pretty,” he said, “It has my highest approval.”
And he nodded approbation at the empty loom. Nothing could make him say that
he couldn’t see anything.

His whole retinue stared and stared. One saw no more than another, but
they all joined the Emperor in exclaiming, “Oh! It’s very pretty,” and they
advised him to wear clothes made of this wonderful cloth especially for the
great procession he was soon to lead. “Magnificent! Excellent! Unsurpassed!” were
bandied from mouth to mouth, and everyone did his best to seem well pleased. The
Emperor gave each of the swindlers a cross to wear in his buttonhole, and the title
of “Sir Weaver.”

Before the procession the swindlers sat up all night and burned more than

six candles, to show how busy they were finishing the Emperor’s new clothes. They

28
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 169 of 192 PagelD# 169

pretended to take the cloth off the loom. They made cuts in the air with huge
scissors. And at last they said, “Now the Emperor’s new clothes are ready for him.”
Then the Emperor himself came with his noblest noblemen, and the swindlers
each raised an arm as if they were holding something. They said, “These are the
trousers, here’s the coat, and this is the mantle,” naming each garment. “All of
them are as light as a spider web. One would almost think he had nothing on, but
that’s what makes them so fine.”
“Exactly,” all the noblemen agreed, though they could see nothing, for there was
nothing to see.
“If Your Imperial Majesty will condescend to take your clothes off,” said the
swindlers, “we will help you on with your new ones here in front of the long
mirror.”The Emperor undressed, and the swindlers pretended to put his new
clothes on him, one garment after another. They took him around the waist and
seemed to be fastening something — that was his train-as the Emperor turned
round and round before the locking glass.“How well Your Majesty’s new clothes
look. Aren’t they becoming!” He heard on all sides, “That pattern, so perfect! Those
colors, so suitable! It is a magnificent outfit.” Then the minister of public
processions announced: “Your Majesty’s canopy is waiting outside.” “Well, ’'m
supposed to be ready,” the Emperor said, and turned again for one last look in the
mirror. “It is a remarkable fit, isn’t it?” He seemed to regard his costume with the
greatest interest.

The noblemen who were to carry his train stooped low and reached for the
floor as if they were picking up his mantle. Then they pretended to lift and hold it

high. They didn’t dare admit they had nothing to hold. So off went the Emperor in

29

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 170 of 192 PagelD# 170

procession under his splendid canopy. Everyone in the streets and the windows
said, “Oh, how fine are the Emperor’s new clothes! Don’t they fit him to perfection?
And see his long train!” Nobody would confess that he couldn’t see anything,
for that would prove him either unfit for his position, or a fool. No costume
the Emperor had worn before was ever such a complete success,

[Finally], a little child said “But the emperor has no clothes”

And one person whispered to another what the child had said, “He hasn’t any
clothes on. A child says he hasn’t anything on.”

“But the emperor has no clothes!” the whole town cried out at last.

The Emperor shivered, for he suspected they were right. But he thought, “This
procession has got to go on.” So he walked more proudly than ever, as his noblemen

held high the train that wasn’t there at all.

Figure | Adapted from the story the Emperor's New Clothes by Hans Christian Andersen (1837), illustration by medium.com

30
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 171 of 192 PagelD# 171

The relevance of the allegory to this certiorari is that it is taking an African
woman from a “third world” country that is supposed to looking up to America as
the emblem of democracy in the “First world,” to expose the blatant corruption
within the American judiciary. Like in the story where the swindlers pretend to
be weaving fabrics all night and making grand displays in the air of cutting
imaginary fabrics with scissors, these judges pretend to be working to uphold
equitably the US Constitution in service of the people. Whereas they wield
immoral torts branded as appropriate judicial acts by writing lavish opinions and
orders justifying her unconstitutional acts; for example, Dabney Friedrich
wrongfully computes time and dismisses complaints as non-cognizable so she can
justify stupid orders that make a mockery of a sacred office and profession. Such
torts cripple the country from healing from the shame of slavery and truly
progressing. These self-proclaimed liberal judges brandish a banner of
progressivism because it allows them to protect non-evidence-based ideologies,
guised as freedom, while failing to adequately address deep structural issues that
oppress the human rights, such as access to quality education, quality healthcare
and a right to receive dignified pay for one’s work, mate and raise a family, practice
religion fairly without governmental encroachment.

In Nigeria, being a relatively nascent democracy and coming out of military
dictatorships, one would expect corruption in the judiciary, yet the plaintiff has
been able to win highly controversial cases showing that even in seemingly
hopeless situations, and in less economically developed countries, judges are not
completely bereft of upholding the law, even at the expense of societal norms and

political pressures. By contrast, wherein America holds itself out to be the emblem

31
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 172 of 192 PagelD# 172

of democracy, it is shocking and disappointing that the judges themselves would
rather parade nude with their fallacious orders than clothe themselves in the
words and spirit of the U.S constitution, just to protect their colleagues, false
ideologies of white superiority and dangerous gender dogma that’s inconsistent
with life and contrary to human dignity. It would appear thus, the very dictatorial
conduct the democratic judges accuse the republican presidential candidate of
reinstating, is the conduct they carry out themselves, oppressively jettisoning the
U.S. Constitution and a government for the people, to abuse power and serve
themselves. Thus, akin to the allegory of the Emperor’s new clothes, these judges/
“noblemen” conduct in the plaintiffs/appellant’s cases demonstrate how their

participation in vain folly has stripped America of its democratic spirit and values.

32
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 173 of 192 PagelD# 173

Figure 2 Figure 3 Thomas Jefferson's Memorial, excerpts from the
declaration of Independence

We Hold These Truths to Be Self-
Evident: That All Men Are Created
Equal. That They Are Endowed by
Their Creator with Certain
Inalienable Rights. Among These
Are Life, Liberty and The Pursuit
of Happiness, That To Secure
SIT of sarin pee These Righis Governments Are
ats on ESS, THAT. 4 ’ Instituted Among Men. We
VERNHENTS. (ob Solemnly Publish and Declare,
| That These Colonies Are And Of
Right Ought To Be Free And
Independent States. And For The
Support Of This Declaration, With
_Dectasation PPORT OFTHIS me A Firm Reliance On The Protection
S ° N th WiTH A FIRM RELIANCE LS Of Divine Providence, We Mutually
F Rorection OF DIVINE oo"! Pledge Our Lives, Our Fortunes
PROVIDE NCE, WE MUTUALLY PLEDGE _ + And Our Sacred Honour.

= ARE: tres. perry

. ms secon Ties

oe E-FREE AND: INDEPENDENT. ‘
“TES ‘AND FORTHE $u

: OUR ues, Scene stage sno
ae OUR FORTUNES, ND OUR: - Thomas Jefferson

~~ SACRED. HONOUR,

33

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 174 of 192 PagelD# 174

VIH. SUMMARY OF THE PLAINTIFF’S CASES AND JUDICIAL

INFRINGEMENT OF FUNDAMENTAL FREEDOMS

1. Education - Nwosu v. Yale University et al

In her 2017 medical school interview with a physician Emeritus, the
physician asked the plaintiff, why do you want to go back to Nigeria after your
medical degree, we need you here? At the time the plaintiff who was a young
interviewer thought Nigeria’s problems were far greater than America’s and
thought Nigeria needed more institutional reform especially in health policy.
However, in her 2023 note to the Dean of Admissions at Yale, Laura Ment, the
plaintiff wrote she intended to pursue the MD/JD degree to instigate
institutional reform within the U.S, having experienced the ugliness of racial
discrimination. Laura Ment, unilaterally proceeded to promptly halt the
plaintiffs application on May 4 2028, although the plaintiff had received 6
solid recommendation letters for directors of residency programs, lead
researchers from top universities across the country, all backing her candidacy.
The case involves title VI violation, 1983 color of law violations, negligence,
gross negligence and fraud claims brought against institutions and their
evident co-conspirators within the justice department and department of
education to suppress illegal medical admissions practices that abuse the faith
and trust of unsuspecting candidates. Although the plaintiff brought the
discriminatory grievances against Yale University to the office of civil rights,
the office of civil rights negligently misrepresented and fraudulently concealed

key elements of the plaintiffs case. Ultimately Gilian Thompson, Meghan

34
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 175 of 192 PagelD# 175

McCrea and Jill Siegelbaum, shelved the plaintiffs appeal indefinitely, and
worked with the United States Justice Department, directed by a Yale
graduate, Ms Shaheena Simons and Kristen Clarke, to conceal the fact that
Yale had been operating the Boston Department of Education’s complaint
phone lines, where complaints against it were being lodged.

The case is relevant to public policy because it showcases that the very
governmental institutions set up to uphold the constitution are infiltrated
corrupted by the private institutions themselves, so those institutions can't
function.

2, Religion - Nwosu v. Bolduc et. al

The plaintiff is a Catholic and was born into and African Catholic family. In
2023, she went on a pilgrimage to Israel, with a racist nun, Magdalit Bolduc,
as her tour guide. Magdalit trolled the plaintiff everyday of the 14 day
pilgrimage, and eventually slandered her to the point of convincing her former
partner, who was a former member of Magdalit’s ecclesiastical community, the
community of the beatitudes, to perjure himself to protect her from the
plaintiff. Unfortunately for this racist nun, the plaintiff had a recording of
their interaction, and it was clear that there was no harassment and Magdalit

had pulled a “Karen” i.e. the colloquial term given to “white: persons who

weaponize racial hate against black people by calling the police on them for
crimes they did not commit®. The Greek word for devil: Diabolos, means !

slanderer, and that’s who Magdalit evidently was to the plaintiff, a slanderer

§ Former NFL star speaks out after United Airlines arrest and removal following fraudulent reporting by flight
attendant https://youtu. be/RC803FOLHdE?si=DEEPaLZaZJaxjCup

35

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 176 of 192 PagelD# 176

and civil murderer to Ms Nwosu’s life and liberty. Ms Nwosu dismissed the
perjured order and sealed it. Apparently, Magdalit’s illicit and discriminatory
actions towards her was fueled in part by becoming romantically involved with
a former member of their community, who was white, and whom the plaintiff
had advised him of the oddity of desiring to sell off assets to live a life of poverty,
as a way of pleasing God. He would express mild displeasure at the plaintiff for
not wishing to follow suit. Significantly, the French government had already
investigated this cultist practices of the Community of the Beatitudes for
psycho manipulating its members, dividing families and forcing them to sell off
their assets; the scandal was published in newspapers and included in the
amended complaint, which Judge Dabney dismissed and refused to reopen. In
2023, under the Vatican’s probation, the community of the Beatitudes said they
would form an independent committee to help them navigate their “troubled

past,” Including the sexual abuse of minors by the community’s founder.

Figure 3 painting of sister magdalit on the sea of galilee on April 27 2023 strangling herself with chains because next
to her were the black plaintiffand her community member, Mr Johnson, earlier that day Magdalit almost lost her balance
when Jeffrey asked her to take a photo of both of them. Portrait painting by Eileen Campbell who painted the portrait
as a catharsis following sister's Magdalit’s abusive words to her while on the pilgrimage.

This case is relevant to public policy because when the plaintiff brought the

suit against Sister Magdalit in D.C, judge Dabney Friedrich, aided by clerk

36
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 177 of 192 PagelD# 177

Michelle Grady, ran to sister Magdalit’s rescue to protect her, notwithstanding
Ms Nwosu’s constitutional rights to a fair hearing. Dabney insistently denied
the plaintiffs statutory right to amend her complaint and bring in the apostolic
Nuncio, located in D.C, as the reporting headquarters for the Catholic
institution in the U.S, despite the plaintiff's motions for reconsideration. The
case is on appeal, and the appellate court, is trying very hard to dismiss the
appeal, even manipulating the plaintiff's filings and intentionally mis-
docketing the filings, so the case can be dismissed. When the plaintiff held Scott
Atchue and Alison Grossman of the D.C appellate court accountable on August
14 2024, they retaliated against her, dismissing her other interlocutory appeals
for other cases on the same day (see appendix A). The plaintiff has since moved

to reinstate all those ill-motivated dismissals, yet nothing has been done by the

federal court of appeals. Jones v. City of Chicago, 856 F.2d 985, 992 (7Cir.
1988))..

The case is further important for public policy because the United States
guarantees first amendment rights to practice religious freedoms, in so far as
they do not endanger citizens, and violate the laws of the land as in this case.
As a Catholic, who respects the dignity of human lives, it is shameful that
abuse and discrimination against black Catholics is being protected by white
Catholics at every level within the Catholic church and remedies for judicial
recourse are being quashed by white judges. Had this been a complaint of sex
scandal and abuse against (white) minors by Catholic consecrated and clergy,
the response would be different. Thus, this case is of import, because black fives

matter.

37

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 178 of 192 PagelD# 178

8. Wealth Preservation — Nwosu vs. Deutsche Bank AG

In this case, Deutshe Bank is withholding considerable assets belonging to
Ms Nwosu’s. It seems apparent the bank is hoping this would have been a case
where African money is lost in Swiss/ European banks. Under judges like
Milton Lee, whose slave ridden history cannot let him stand up to white
institutional oppression, they almost got away with their illegal acts. Ms
Nwosu has simply asked for her property, through which is Deutsche Bank is
being unjustly enriched and withholding fraudulently. In this suit, judge
Milton delivered the most incoherent judgment turning the basic tenants of
common law on its head, by stating he was not convinced that the District of
Columbia had jurisdiction over the defendants, who were operating in D.C ,
because of the plaintiffs ethnicity. Alas, such shocking contraventions of law,
is what the plaintiff has to endure with forbearance in order to not only travail
in her pursuits. These sort of cases, show the realities of the allegory and
provide testimony to the evident fractures in the judicial system that make it
the injustice system. Sanchez v. City of Fresno, 914 F. Supp. 2d 1079, 1099

(E.D. Cal. 2012)

4. Wealth generation — Nwosu vs. Four Seasons LTD,

The plaintiff brought a suit against the Four Seasons hotels for breach of
contract, unfair business practices and discrimination, after the plaintiff found
that the hotelier failed to repeatedly meet the expectations of the written lease
contract which both parties had entered into in December 2028 and March/

April 2024, Additionally, the plaintiff found evidence in December 2023 — April

38
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 179 of 192 PagelD# 179

2024, that the Four Seasons LTD, founded and headquartered im Canada, is
actually a racist institution, that willingly extracts monies from black
consumers but intentionally blocks wealth generation avenues engaging in
unfair trade practices, in favor of white consumers. In particular, the executive
team of the Four Seasons fraudulently misrepresented that their galiery space
wherein they are landlords on Pennsylvania Avenue was unavailable, knowing
the plaintiff had wished to rent it at $150,000+ annually to showcase
contemporary African art, that would help change the stereotypes of poverty,
war and debasement. Such prejudiced narratives oft promotes prejudice,
condescension, ignorance, and racism in the West. The vice president of the
Four Seasons, Mr Bernard and the Marketing Director, Mr Austin Philips,
repeatedly wrote to Ms Nwosu that the space would not be available,
misleading information which the incumbent tenant and gallerist refuted. The
incumbent gallerist displayed French renaissance artists, including Monet and
Renoir, which the Four Seasons appreciated so much they extended the rent
free tenancy of the incumbent Guarisco gallery, depriving Ms Nwosu of the
space. It was not until Ms Nwosu amended her complaint in April 2024,
showing that the discrimination and unfair business practice was ongoing, that
the incumbent gallerist vacated the space and rebranded the vacant space with
Four seasons awnings.

This case is relevant to public policy because of how judge Cooper sought to

protect the Four Seasons’ discriminatory, breach of contract and unfair
business practices acts, prejudicially. The plaintiffs art gallery showcase would

have been a clear opportunity to educate people, promote intercontinental

39

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 180 of 192 PagelD# 180

trade at a location that already welcomes international diplomats, and could
serve to promote true inclusivity and respect of other cultures. Opening up
international art galleries at exclusive locations also promotes wealth
generation for the international artists, and has corollaries such as improving
access to health, education in their countries for families. Indeed one of the
multiplier effect of global prosperity is that there is less pressure on migration
into the West, as people are able to use the incomes from bilateral trade to build
up their lives in their own countries. Judge Cooper blocked this large scale
vision through his myopic prejudicial acts of preserving the status quo unjustly.
Ms Nwosu had asked for injunctive relief for her evident breach of contract
claims, and also moved for summary judgement after the defendants defaulted
and were genuinely delaying the case without a real defense. Ms Nwosu had
also moved for sanctions following the repetitive motions by the opposing party
delaying the case unnecessarily. Judge Cooper, prejudicially struck out her
motion for summary judgment, did not rule on the sanctions motions, and after
four months he was still indecisive on whether the plaintiff had a claim to
dismiss pursuant to rule 12b. On May 30 2024, Ms Nwosu filed a restraining
order against judge Cooper after she discovered he had ruled prejudicially in
the face of overwhelming evidence on a similar discrimination case involving a
black plaintiffs and against a white run George Washington University — see
Stafford y. George Wash. Univ., Case No. 18-cv-2789 (CRC) (D.D.C. Jun. 5, 2019) Jabari
Stafford v. George Washington University, No. 22-7012 (D.C. Cir. 2022). Although Ms
Nwosu’s case went on appeal, it has been temporarily blocked by the mischief

of the clerk staff in the D.C Court of appeals, who had informed Ms Nwosu that

40
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 181 of 192 PagelD# 181

her case was under review and failed to mention that they were awaiting an
ifP waiver. At the least opportunity to retaliate, they struck out her case, and
she has since filed her motion to reconsider the retaliatory decision. Thus, the
appellant invokes the supervisory oversight of the supreme court given that

the entire DC circuit is corrupted and unable to deliver justice blindly.

5. International Development — Nwosu vs. Hewlett Packard Enterprise Co.

Ms Nwosu had been forced to bring a suit against Hewlett Packard
Enterprise Co (HPE) in January 2024, after her transaction to purchase
printing equipment for her new print business was abruptly halted by the anti-
trust/competition structure in which HPE had structured the African market.
Essentially HPE’s/HPInc’s market for printers, data cloud and software was
such that Ms Nwosu would have to purchase equipment from Middle Eastern
owned businesses, moving hundreds and thousands of dollars out of the African
economies and into the Middle East. She refused because she had already
invested in relationship building with South African authorized dealers, and
given that part of her mission as a businesswoman was to lift people out of
poverty. The plaintiff is sick and tired of witnessing people in her country of
Nigeria prostrating before the Blessed Sacrament for hours, begging Jesus
Christ for money. In the U.S it is equally painful to watch black men, who have
been let out of jail with nowhere to go sit at the footsteps of Catholic churches,
homeless, wondering if they can come in or not, and just watching the world

pass them by or give them a meagre dollar.

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Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 182 of 192 PagelD# 182

The Uruguayan born immigrant judge Ana C. Reyes decided to block Ms
Nwosu’s case and parry with the defendants, denying all of the plaintiff's
motions, including her motion for summary judgments after the defendants
pled no defense in their answer, and then extended the time for the defendants
to cook up a response to Ms Nwosu’s evidence packed motion and legal
memoranda in support.

Besides the blow to international development by Ana’s selfish, unjust and
oppressive acts, Ana’s actions to remain on the case are undoubtedly
unconstitutional because she is conflicted. Rather than recuse herself, where
she in named party in another of the plaintiff's case, for lying that she was
under no obligation by judicial code of ethics/conduct to hold her fellow judge
Dabney Friedrich accountable, who denied the plaintiff a statutory right
(aforementioned), she remained on the case, writing self-gratifying legal
opinions and orders deeming the plaintiffs suits as frivolous and hurling

insults at the US constitution’s equal rights to due process and a fair hearing.

6. Judicial Accountability - Nwosu vs, Friedrich et al.

Given the shocking and unconstitutional manner in which the federal
judges selectively elect to apply the law along racial lines in detriment to the
plaintiff, even acting in the absence of all jurisdiction to maliciously and
intentionally breach statutory provisions, Ms Nwosu filed suit against judicial
colleagues Ana C. Reyes and Dabney Friedrich, as a recourse for judicial
accountability, a path to a fair hearing and a reminder of their oath to uphold

the 142 amendment, not abuse their authority and run the judiciary like their

42
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 183 of 192 PagelD# 183

personal homes. The U.S attorney, Jane Lyons motion to dismiss filed on July
2024, refuted that the judges were bound by the judicial code of conduct and an
affirmation of their illegal conduct and license to misbehave. Eliminating such
an abuse of power is of import to restoration of the public’s faith in the
judiciary, especially in criminal justice cases, where the like of Judge Amy
Jackson, Dabney, Ana Yvonne, Cooper are selective applying laws along racial
lines and contributing to the mass incarceration of black men. They negligently
and intentionally misrepresent facts of the case, jettison guaranteed statutes,
and wield laws as they please. This leads to all manner of injustices, including
exempting their friends and colleagues from the grips of the law, while
instituting a modern type of slavery by blocking access to wealth generation .
breaking families, putting unbearable pressures on black women and robbing
descendants of Africans opportunities to build families in a stable home, create
wealth across various industries, not just predominantly the entertainment
industry. Furthermore, their oppressive and unjust applications of law, force
minorities to believe they have to change their bodies and personas to contend
with ideologies that implore them to become who they really are by
transforming themselves. In part, the inequitable application of the law by
judges has fueled the underground transgender community, wherein black

men turn into “female” sex workers? for straight white males on the “down-

7 Estimating the Size and Structure of the Underground Commercial Sex Economy in Hight
Major U.S. Cities

43
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 184 of 192 PagelD# 184

low”8,91° to in part can escape incarceration, unjust police brutality and/or
economically advance as they are deemed less menacing and more palatable to
their white peers. Thus, under the guise of permitted progressivism, by going
into areas that are applauded and not blocked, as the plaintiff is experiencing,
these disenfranchised populations can afford to earn a living, however un-
dignifying. Thus the “pride” and “freedom” to “love” whoever one wants to love
is but an illusion; a forced modern-day slavery, wherein disenfranchised
population are operating within a very short radius afforded by the judiciary
system, to be able to earn an income. The irony is, while white females, such
as these judges openly wield oppressive tactics in court against blacks, in a
quest for never ending power, control, assertion and dominance to be co-equals
with their masculine peers, their husbands within the personal space quietly
disdain the encroachment on their masculinity and rebel through disordered
sex addictions, such as pornography, extramarital affairs, men who have sex
with men, transgender sex work et cetera, some tales of which are recounted
in the Oscar awarded film Maestro, portrayed by Bradley Cooper, and which
the plaintiff witnesses firsthand in “luxury” hotels, The emperor is very naked.
These plaintiffs experiences of judges shutting down and limiting her
opportunities: clamping down her access to wealth, even when she is entitled,
affirms the unconstitutional practices of limiting growth of and retarding the

socio-economic advancement of non-white persons, akin to the apartheid and

§ Unique Obstacles Put Transgender People At Risk of Trafficking

* Kumar, Navin Scott, John and Minichiello, Victor 2017. Masculinity and the Occupational
Experience of Male Independent Escorts Who Seek Male Clients. Social Sciences, Vol. 6, Issue. 2,
p. 58.

10 1. Logan TD. Economics, Sexuality, and Male Sex Work. Cambridge University Press; 2017.

44
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 185 of 192 PagelD# 185

Jim Crow. It is as though these white women, aided by sedition of their black
peers, loathe to see someone who would’ve been “the help” at their “nana’s”

dinner table, socially advance and sit in front of the bus.

IX. WHY THIS WRIT SHOULD BE GRANTED

The plaintiffs cases transgress the fundamental freedoms guaranteed by
the U.S. Constititution and actually help improve lives nationally and
internationally: the right to practice religious freedoms, the right to life, the
right to property, through wealth gencration and preservation. The
plaintifffappellant, who has boldy not put up with the guiles of judges seeking
to protect the status quo even when it violates the constitution, has been
blackwalled from appealing her cases in the D.C, court of appeals as the courts
have evidently conspired to mis-docket and dismiss her cases illicitly. The
District of Columbia judicial system evidently runs like a club, wherein ex-
parte communications among judges and counsels are rife, and law is
oppressively wielded against non-conforming parties, and the consittuional
provisions and statutes are relegated to the erratic rules of unfaithfal judges
to the U.S. Constitution. The plaintiff files this extraordinary writ as she is
unable to exercise her right of appeal, without mischief, and thus has to invoke
this court's supervisory power to safeguard the constitutional protections

afforded persons subject to the U.S. jurisdiction thereof.

45

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 186 of 192 PagelD# 186

X. CONCLUSION

The plaintiffs’ cases which have been unjustly estopped by extra-judicious
abuse of power in the D.C circuit in a manner that obstructs justice and shocks
the conscience. Braatelien v. United States, 147 F.2d 888 (Sth Cir. 1945). Hogan v.
City of El Dorado, 455 F. Supp. 2d 876, 884 (W.D. Ark. 2006). Under the
Supremacy Clause of Article VI, and the fourteenth amendment due process and
equal protection clauses, the plaintiff calls on the Supreme Court to invoke its
supervisory power in this extraordinary writ because the judges actions are
treasonous and fraudulent, in that they took an oath of office to uphold the US
Constitution, yet their repeated and continuous actions mockingly robs the
emperor of his clothes, under the pretence of law, progressivism and illusionary
freedom. It is overwhelmingly evident that the judges in the District of Columbia
have sought to deny the plaintiff of any recourse to judicial remedies, in reckless
disregard of constitutional provisions. It is important to grant this extraordinary
writ of certiorari as failing to do so will create a back door through which the
government can effectively steal and deprive people of their life, property rights,
and liberties, unconstitutionally The plaintiff ultimately files this extraordinary
writ of certiorari to restore faith in the judicial system, to bar the callous violations
of constitution by state and federal judges in the District of Columbia and restore
her freedom to life liberty and property which have been denied her unjustly. The
appellant is seeking reliefs on her summary judgement in her cases, as well as

judicial reform to stop marring the principles and spirit of the US constitution.

46
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 187 of 192 PagelD# 187

Figure 4 Excerpts from Thomas Jefferson's
Memorial

I Am Not an Advocate for Frequent
Changes In Laws And Constitutions.
But Laws and Institutions Musi Go
Hand In Hand With The Progress Of
The Human Mind. As That Becomes
{ More Developed, More Enlightened, As
: New Discoveries Are Made. New Truths
ye _ Discovered and Manners and Opinions
IR CUNSTANGES, INenirarone Change, with The Change of
ADVANCE Also TO KEEP PAGE Circumstances. Institutions | Must
a itn THE TIMES, WE MIGHT. ELL

__. REQUIRE’ Man TO WEAR $1 :: Advance Also to Keep Pace with The

COAT DN

fo arwnicy PITTED HIM SPENT 4 BOY Times. We Might as Well Require a Man
: “AS 6 CIVILIZED’ SOCIETY To EMAL

: BVER UI UNDER THE REGIMEN OF. THEIR to Wear Still the Coat Which Fitted Him
BA BAROUS ANCES! FORS

When a Boy as Civilized Society To
» Remain Ever Under The Regimen Of

Thetr Barbarous Ancestors.

- Thomas Jefferson

47

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 188 of 192 PagelD# 188

XI. LIST OF RELATED CASES AND STATUS OF THE CASES

Proceedings originating in District of Columbia Superior Court

1. 2024-CAB-000736
1.1. 1:24-CV-00615-ACR (illicity removed to the district court without due
process)

1.1.1, 24-7087 (on appeal to US Court of appeals for D.C Circuit; motion to
reinstate appeal filed after it was illicitly dismissed in retaliation by
Scott Atchu)

2. 2024-CAB-008433
2.1. 1:24-CV-01852-CJN (illicity removed to the district court)

2.1.1, 24- 5171 (on appeal to US Court of appeals for D.C. Circuit; motion
to reinstate appeal filed after it was illicitly dismissed in retaliation
by Scott Atchu)

3. 2024-CAB- 000293
3.1.24-CV-482 (on appeal to the D.C court of appeals for a unconstitutional
dismissal that contravenes common law).
Proceedings originating in the Federal District Court for the District of Columbia
4. 1:24-CV-00025-ACR
4,1, 24-7092 (on interlocutory appeal to D.C. Court of appeals; motion to
reinstate appeal filed after it was illicitly dismissed in retaliation by Scott
Atchu)

5, 1:24-CV-00064-ACR

48
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 189 of 192 PagelD# 189

5.1.24-7091 (on interlocutory appeal to D.C. Court of appeals; motion to
reinstate appeal filed after it was illicitly dismissed in retaliation by Scott
Atchu)
6. 1:23-cv-03841-DLF
6.1. 24-7034 (on appeal to the D.C, Court of appeals: appellant has at least
temporarily stopped an illicit dismissal after repeated attempts by
members of the clerk’s office, through intentional misdocketing of her
filings).
7. 1:24-CV-878-ACR
7.1, 24-5124 (on appeal to the D.C. Court of appeals; appellant’s motion to
consolidate this appeal with 24-7034 has been filed, given it originated
from similar facts).
8. 1:24-CV-00987-CJIN
8.1. On interlocutory appeal to the D.C Court of appeals — no case number

issued yet

Respectfully Submitted,

lige lo

Adaeze Nwosu, Pro Se
238 Aug 2024

49

Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 190 of 192 PagelD# 190

XII. APPENDIX A - ORDERS

1, 1;23-ev-03841-DLF Order by Dabney dismissing plaintiff's suit for alleged lack of
jurisdiction and Dabney’s order Denying plaintiffs motion to
reconsider and exercise statutory provisions to amend her
complaint, as “non a cognizable motion”

Dabney’s orders twice denying plaintiff's motion for recusal
2. 1:24-CV-878-ACR Ana’s order dismissing case brought against Dabney for her
statutory violations and acting in the absence of all
jurisdiction, citing holding her colleague accountable for
misconduct, was not a claim upon which a relief can be
granted, despite it being stated explicitly in the judicial code of
conduct

3. 2024-CAB - 000736 Superior Court's notice of transfer of the plaintiffs suit to
district court without adequate notice and granting the
plaintiff time to file an opposition, and yet without even
considering the plaintiffs opposition to the transfer, in
violation of due process.

4, 1:24-cy-00615-ACR Judge Ana Reyes order denying a recusal, cases given her
conflict of interest

Judge Ana Reyes denying remanding the illicitly transferred.
suit 2024-CAB — 000786; judge Reyes waited over 4 months to
decide plaintiffs motion to remand the plaintiffs motion filed
in April 2024, Judge Reyes has a history of cherry picking
which judicial code of conduct would apply to her and her
fellow judges, when it best favors them, and subsequently
adjudicates, delay cases, grant stays under color of law, in a
manner that is inherently prejudicial and conflicted with her
interests

5. 1:24-CY-00064-ACR Ana’s orders denying certification for interlocutory appeal
though she was conflicted and evidently prejudiced, and Ana’s
order denying motions for recusal.

Ana's order denying plaintiffs motion for stay pending review
of interlocutory appeal

Ana’s order denying plaintiffs motion for sanctions after
defendant lied unethically to dismiss her case

Ana’s order granting defendant’s motion for extension of time
6. Appeal Case No. 24-5171 and Order by Appeals court operations manager, Scott Atchue
24-7087 dismissing appellant's case for failure to prosecute on August
14 2024, which was done in retaliation after the appellant
wrote to hold them accountable and stop intentionally mis-
docketing her briefs, in order to dismiss them.

7. 2024-CAB- 000293 Judge Milton's order dismissing plaintiffs suit based on the
jurisdiction of the plaintiff

8. 1:24-CV-00025 Christopher's order to strike plaintiffs motion for summary
judgment

30
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 191 of 192 PagelD# 191

XII. APPENDIX B - PLAINTIFF'S APPEALS
This appendix includes plaintiff's Interlocutory appeals, motions for
reconsiderations and motions to vacate judgment, and questions of law, which
were all non-frivolous as they carried constitutional weighting vis a vis Judicial

practices.

CERTIFICATE OF SERVICE
I certify I served the following writ of certiorari via postal mail and PACER on

the respondent’s attorneys, the US State Attorney and the State Attorney’s

Office for the District of Columbia.

hye lo

Adaeze Nwosu,

Petitioner,

23 August 2024

ireoma@email.com

1802 Vernon Street, Washington DC 20009, STE 508

31
Case 1:24-cv-01959-MSN-WEF Document1 Filed 10/16/24 Page 192 of 192 PagelD# 192
